Case 1-17-46613-nhl   Doc 40-3
                          25-1   Filed 03/08/18
                                       02/13/18   Entered 03/08/18
                                                          02/13/18 09:23:43
                                                                   18:06:34


                                                                         Page 1

  1      UNITED STATES BANKRUPTCY COURT

  2      EASTERN DISTRICT OF NEW YORK

  3      Case No. 1-17-46613-NHL

  4      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

  5      In the Matter of:

  6

  7      BRACHA CAB CORP,

  8

  9                   Debtor.

 10      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

 11

 12

 13                        United States Bankruptcy Court

 14                        271-C Cadman Plaza East

 15                        Brooklyn, NY 11201

 16

 17                        January 12, 2018

 18                        10:24 AM

 19

 20

 21

 22

 23      B E F O R E :

 24      NARAR KHODOROVSKI

 25      U.S. TRUSTEE

                                   Veritext Legal Solutions
      212-267-6868                   www.veritext.com                         516-608-2400
Case 1-17-46613-nhl   Doc 40-3
                          25-1   Filed 03/08/18
                                       02/13/18   Entered 03/08/18
                                                          02/13/18 09:23:43
                                                                   18:06:34


                                                                        Page 2

  1      HEARING re 341 Meeting of Creditors

  2

  3

  4

  5

  6

  7

  8

  9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25       Transcribed by:             Sonya Ledanski Hyde

                                   Veritext Legal Solutions
      212-267-6868                   www.veritext.com                         516-608-2400
Case 1-17-46613-nhl   Doc 40-3
                          25-1   Filed 03/08/18
                                       02/13/18   Entered 03/08/18
                                                          02/13/18 09:23:43
                                                                   18:06:34


                                                                        Page 3

  1      A P P E A R A N C E S :

  2

  3      ROSENBERG MUSSO & WEINER LLP

  4              Attorney for Debtor

  5              26 Court Street, Suite 2211

  6              Brooklyn, NY 11242

  7

  8      BY:     BRUCE WEINER

  9

10       OFFICE OF THE UNITED STATES TRUSTEE

11               U.S. Trustee

12               Eastern District of NY (Brooklyn Office)

13               U.S. Federal Office Building

14               201 Varick Street, Suite 1006

15               New York, NY 10014

16

17       BY:     NARAR KHODOROVSKI

18

19

20

21

22

23

24

25

                                   Veritext Legal Solutions
      212-267-6868                   www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                            Page 4

  1                               P R O C E E D I N G S

  2                   MR. KHODOROVSKI:      Let the record reflect that the

  3      date today is the 12th of January, 2018, and the time now is

  4      10:24 a.m.     The name of these cases is in re:           Bracha Cab

  5      Corp., et al.     Docket Number is 17-46613.           The cases have

  6      been assigned to Judge Lord.

  7                   So, what I’m going to do right now, Interpreter...

  8      Interpreter, so please raise your right hand as the

  9      interpreter.     Interpreter, do you swear or affirm that the

 10      translation you are about to give at this Section 341, a

 11      meeting of creditors, will be from English to Georgian and

 12      from Georgian to English, and that you promise to truthfully

 13      and correctly translated and interpret?

 14                   INTERPRETER:     Yes, I do.

 15                   MR. KHODOROVSKI:      Okay, Interpreter, you may lower

 16      your right hand.     So, please translate for me.           Good

 17      morning.

 18                   MS. ELBERG:     Good morning.

 19                   MR. KHODOROVSKI: My name is Nazar Khodorovski.                N-

 20      A-Z-A-R, K-H-O-D-O-R-O-V-S-K-I.           Nazar Khodorovski.       I am an

 21      attorney with the United States Department of Justice,

 22      Office of the United States Trustee, and I will conduct this

 23      hearing.

 24                   My office supervises the administration of

 25      bankruptcy cases under the Bankruptcy Code.              Debtors are

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                           Page 5

  1      required to appear and be examined under oath regarding

  2      their cases.     And these examinations are recorded.            And all

  3      persons who question debtors must state their names and

  4      indicate who they represent.         And right now I would like to

  5      ask the representative of this bankrupt company to be sworn

  6      in, so please ask her to raise her right hand.

  7                   Do you swear or affirm to tell the truth, the

  8      whole truth, and nothing but the truth?

  9                   MS. ELBERG:    I swear.

 10                   MR. KHODOROVSKI:      Go ahead, Interpreter.

 11                   MS. ELBERG:    Yes, I do.

 12                   MR. KHODOROVSKI:      Interpreter, please ask her to

 13      lower her right hand.       Please state your full name.

 14                   MS. ELBERG:    My name is Esma Elberg.

 15                   MR. KHODOROVSKI:      Interpreter, you don’t need to

 16      translate this.     Ms. Elbert, can you give me your address?

 17                   MS. ELBERG:    1281 Carroll Street.        Brooklyn, New

 18      York, 11213.

 19                   MR. KHODOROVSKI:      Okay.    Mr. Weiner, and

 20      Interpreter, let’s -- maybe we can do it this way:               How

 21      about I ask her questions in English?

 22                   MR. WEINER:    Yes.

 23                   MR. KHODOROVSKI:      If at some point she doesn’t

 24      understand, the interpreter will step in.

 25                   MR. WEINER:    That makes the most -- that makes

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                          516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1    Filed 03/08/18
                                         02/13/18    Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                             Page 6

  1      sense to me.

  2                   MR. KHODOROVSKI:       Counsel -- I’m going to ask

  3      counsel for the creditor, are you okay with that?

  4                   MR. FORSTOT:     I’m okay with it.

  5                   MR. KHODOROVSKI:       And, Mr. Piken, since you’re

  6      counsel to her personally, are you okay with that?

  7                   MR. PIKEN:     I am.

  8                   MR. WEINER:     If it gets somewhat technical, she

  9      probably will want the interpreter.

 10                   MR. KHODOROVSKI:       The interpreter.        Okay,

 11      Interpreter, so Nana, I’m going to give you a different

 12      piece of instruction, okay?

 13                   INTERPRETER:     Sure.

 14                   MR. KHODOROVSKI:       Okay.    So I’ve discussed with

 15      the attorneys here and we have decided that I’m going to be

 16      asking Ms. Elberg questions in English.                If at some point

 17      she doesn’t understand, please stand by, Nana.                So I’m going

 18      to be asking questions in English.             If at some point Ms.

 19      Elberg doesn’t understand, s he’s going to ask you to

 20      translate for her in Georgian, okay?

 21                   INTERPRETER:     Okay, sure.       I will be standing by.

 22                   MR. KHODOROVSKI:       So, Nana, please stand by and I

 23      will go in English.        Okay?    So, Ms. Elberg, what is your

 24      relationship to Bracha Cab Corp and other related companies?

 25                   MS. ELBERG: This was my husband’s business and my

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                          516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                           Page 7

  1      husband (Indiscernible) 1,213 and...

  2                   MR. WEINER: I think she meant 2013.

  3                   MR. KHODOROVSKI:        Okay, I’m sorry.     You know what?

  4      Actually, Mr. Weiner, I think we need to go back to the

  5      interpreter.

  6                   MR. WEINER:     Okay.

  7                   MR. KHODOROVSKI:        Because the Debtor just

  8      testified that her husband passed away in the 13th century.

  9      And so I’m not making light of this but she just testified

 10      that her husband passed away in the 13th century, so...

 11                   MS. ELBERG:     No, I --

 12                   MR. KHODOROVSKI:        No, Ms. Elberg, just please

 13      wait.   To make sure -- because you’re testifying under oath

 14      it seems to me better that we’re going to go back to the

 15      interpreter.     So, okay, Nana?

 16                   INTERPRETER:     Yes, I’m      here.

 17                   MR. KHODOROVSKI:        Okay, so I’m going to have to go

 18      back to what we were doing before because the Debtor clearly

 19      made a very serious mistake.

 20                   INTERPRETER:     Okay.

 21                   MR. KHODOROVSKI:        So, please ask her, Nana, how is

 22      she related to Bracha Cab Corp and other related companies.

 23      In other words -- just hold on -- please ask her if she owns

 24      those companies and if she has any title or possession with

 25      them.

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1    Filed 03/08/18
                                         02/13/18    Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                            Page 8

  1                   MS. ELBERG:     Well, I work for them and I have

  2      medallion, and besides, after passing away in 2013,

  3      everything whatever was owned by my husband went to me in

  4      2014.

  5                   MR. KHODOROVSKI:       So, do you own these companies?

  6                   MS. ELBERG:     Yes.

  7                   MR. KHODOROVSKI:       Okay.    Are you the only owner of

  8      these companies or does somebody else own them with you?

  9                   MS. ELBERG:     No.    Just me.

 10                   MR. KHODOROVSKI:       Okay.    Do you have a lawyer with

 11      you this morning?        Interpreter, can you please translate?

 12                   MS. ELBERG:     Yeah, I have.

 13                   MR. KHODOROVSKI:       Counsel, please note your

 14      appearance.

 15                   MR. WEINER:     Brue Weiner, Rosenberg Musso &

 16      Weiner, attorneys for the Debtors.

 17                   MR. KHODOROVSKI:       And Counsel?

 18                   MR. PIKEN:     Robert W. Piken, Piken & Piken,

 19      attorney for Esma Elberg, individual.

 20                   MR. KHODOROVSKI:       Okay.    Interpreter, you don’t

 21      need to translate this next question because it’s going to

 22      be directed to the lawyers.          Can creditors and other parties

 23      of interest note your appearances, identifies yourselves?

 24                   MR. FORSTOT:     Jonathan Forstot of Troutman Sanders

 25      on behalf of Capital One.

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                          516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18      Entered 03/08/18
                                                              02/13/18 09:23:43
                                                                       18:06:34


                                                                             Page 9

  1                   MR. KHODOROVSKI:        And, Mr. Forstot, Capital One,

  2      your client, is that a secured or an unsecured creditor?

  3                   MR. FORSTOT:     Secured creditor.

  4                   MR. KHODOROVSKI:        Okay.    So, okay, Interpreter,

  5      you can translate again because I’m going to be asking

  6      questions of Ms. Elberg again.            So, Ms. Elberg, are you

  7      familiar with the information that is listed in this

  8      bankrupt company’s bankruptcy petition and its schedules?

  9                   MS. ELBERG:     Yes, I understood everything.           I know

 10      everything.

 11                   MR. KHODOROVSKI:        Mr. Weiner, do you have the

 12      original signature on the petition?

 13                   MR. WEINER:     I have all the petitioners here.               I

 14      have...

 15                   MR. KHODOROVSKI:        Do you have -- can I see the

 16      original signatures?

 17                   MR. WEINER:     Original signatures...

 18                   MR. KHODOROVSKI:        Well, do you have something with

 19      a wet signature?

 20                   MR. WEINER:     Here.     I have...

 21                   MR. KHODOROVSKI:        Okay, I’ll just show her one and

 22      we’ll go from there.        I’m just going to show her one.

 23                   MR. WEINER:     That’s an original.         And I represent

 24      -- I have the other 14 originals...

 25                   MR. KHODOROVSKI:        Ms. Elberg, is that your

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18     Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                           Page 10

  1      signature on the bankruptcy petition that Mr. Weiner is

  2      showing you?

  3                   MS. ELBERG:    Yes.     Everything my signature.

  4                   MR. KHODOROVSKI:       Okay.    Ms. Elberg, are you

  5      personally familiar with the business of these companies and

  6      their finances?

  7                   MS. ELBERG:    Yes.     I have help in -- my daughter

  8      helps me and my secretary.

  9                   MR. KHODOROVSKI:       Have these companies filed for

 10      bankruptcy before?       Please wait for the interpreter.

 11                   MR. WEINER:    Before today.

 12                   MS. ELBERG:    No.

 13                   MR. KHODOROVSKI:       Interpreter, please tell her to

 14      wait until I finish asking the question.              Then you will

 15      translate, and then she will answer.             Please explain that to

 16      her, if you can, Interpreter.          Thank you.

 17                   MS. ELBERG:    Okay.

 18                   MR. KHODOROVSKI:       Please ask her if she understood

 19      the instruction.

 20                   MS. ELBERG:    Yes.

 21                   WOMAN 1:    You have to speak louder, Mom.

 22                   MR. WEINER:    Speak up so she can hear you.

 23                   WOMAN 1:    She can’t hear you if you don’t speak

 24      up.

 25                   MS. ELBERG:    I hear you.       Yes.

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18   Entered 03/08/18
                                                           02/13/18 09:23:43
                                                                    18:06:34


                                                                            Page 11

  1                   MR. KHODOROVSKI:     Have you ever filed for personal

  2      bankruptcy?

  3                   MS. ELBERG:    No.   Just now.

  4                   MR. KHODOROVSKI:     Okay, okay.         Ms. Elberg, Ms.

  5      Elberg, please, please wait until the interpreter translates

  6      the question to you form English into Georgian, then you

  7      will answer her in Georgian, and she will translate it back

  8      to me in English, okay?       So let me try this again.            Have you

  9      ever filed for personal bankruptcy?

 10                   MS. ELBERG:    No, never before.          Only now.

 11                   MR. KHODOROVSKI:     Have any other companies or

 12      businesses that you may have owned ever filed their own

 13      bankruptcy cases, other than these companies?

 14                   MS. ELBERG:    No.

 15                   MR. KHODOROVSKI:     Okay, ma’am, please wait for the

 16      interpreter.     Interpreter, please translate and then we’ll

 17      go again.

 18                   MS. ELBERG:    No.

 19                   MR. KHODOROVSKI:     Okay.     Have these bankrupt

 20      companies opened new posed bankruptcy bank accounts?

 21                   MR. WEINER:    That was a yes or no question.

 22                   MR. KHODOROVSKI:     Okay, okay, Interpreter, I’m

 23      going to re-ask the -- I’m going to re-ask the question in a

 24      different way.     I’m going to re-ask the question in a

 25      different way.     After these bankruptcy cases were filed, did

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 12

  1      these companies open new bank accounts?

  2                   MS. ELBERG:    I open.

  3                   MR. KHODOROVSKI:     Ms. Elberg, please wait for the

  4      interpreter, okay?       I’m going to ask the question again, I’m

  5      going to ask it of the interpreter, the interpreter will

  6      translate it for you, okay?         After these bankruptcy cases

  7      were filed, did these companies open new bank accounts?

  8                   MS. ELBERG:    Yes, I opened in the bank.

  9                   MR. KHODOROVSKI:     Which bank?

 10                   MS. ELBERG:    TD Bank.

 11                   MR. KHODOROVSKI:     Okay, let the record reflect

 12      that the United States Trustee has been provided with proof

 13      of opening of Debtor in Possession accounts for these

 14      companies at TD Bank.       Do these companies currently have

 15      insurance?

 16                   MS. ELBERG:    Yes, they have insurance.

 17                   MR. KHODOROVSKI:     Okay, let the record reflect the

 18      United States Trustee has been provided with proof of

 19      insurance for these companies.            Okay, so I have proof of --

 20      what do I have?     Proof of Workers Compensation Insurance

 21      that’s current, I have proof of insurance from American

 22      Transit, that’s general liability, and that also is current,

 23      and I have four other companies and it is also current.                   So

 24      I have current proof of insurance.

 25                   Where are these companies’ financial records

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                          516-608-2400
Case 1-17-46613-nhl     Doc 40-3
                            25-1   Filed 03/08/18
                                         02/13/18    Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                           Page 13

  1      located?

  2                    MS. ELBERG:     1281 Carroll Street.

  3                    MR. KHODOROVSKI:      I think she answered the

  4      question.      Interpreter, you don’t need to translate.            What

  5      do these companies do?

  6                    MS. ELBERG:     I have rented out the medallions for

  7      those companies and they work and then they pay me back.

  8                    MR. KHODOROVSKI:      What kind of medallions are

  9      these?      Are these taxi medallions?

 10                    MS. ELBERG:     These are medallions for taxicabs.

 11      And I don’t have myself taxicabs, I don’t have cars.                I’m

 12      just renting the numbers out and somebody else who has the

 13      car, they are working and they are paying me back.

 14                    MR. KHODOROVSKI:      Are these Yellow Taxi medallions

 15      of Green Taxi medallions?

 16                    MS. ELBERG:     Yellow.

 17                    MR. KHODOROVSKI:      Okay.     Who started these

 18      companies?

 19                    MS. ELBERG:     Well, my husband started before he

 20      passed away.

 21                    MR. KHODOROVSKI:      How long -- go ahead, go ahead,

 22      Interpreter.

 23                    INTERPRETER:     Yes, I just wanted to translate up

 24      to there what she said.         She said...

 25                    MS. ELBERG:     My husband started before he passed

                                      Veritext Legal Solutions
      212-267-6868                      www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 14

  1      away and then after he passed away, it went to me.

  2                   MR. KHODOROVSKI:       What was your husband’s name?

  3                   MS. ELBERG:     Jacob Elberg.

  4                   MR. KHODOROVSKI:       Interpreter, you don’t need to

  5      translate.     I understood the answer.          Are you the only owner

  6      of these companies?

  7                   MS. ELBERG:     Yes.    Only me.

  8                   MR. KHODOROVSKI:       Do you receive a salary from

  9      these companies?

 10                   INTERPRETER:     Sir, I think I need clarification

 11      from her.     She did not use the -- like, word salary.

 12                   MS. ELBERG:     Yes.    Yes, I was taking salary.

 13                   MR. KHODOROVSKI:       How much salary did you receive

 14      in 2017, last year?

 15                   MS. ELBERG:     I don’t know.

 16                   MR. KHODOROVSKI:       How much salary did you receive

 17      in 2016?

 18                   MS. ELBERG:     I don’t remember.

 19                   MR. KHODOROVSKI:       Since your husband died, did

 20      anyone other than you own these companies?

 21                   MS. ELBERG:     No, no one.

 22                   MR. KHODOROVSKI:       Other than these companies that

 23      have filed bankruptcy, do you own any other companies?

 24                   MS. ELBERG:     No, I don’t have anything else --

 25      Esma Management.

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 15

  1                   MR. WEINER:     I think she meant except Esma

  2      Management.

  3                   MR. KHODOROVSKI:      I understood that, Mr. Weiner,

  4      thank you.     Esma Management.       What does Esma Management do?

  5                   MS. ELBERG:     Well, I rent out medallions and

  6      besides, I pay whatever taxes are needed to be paid.

  7                   MR. KHODOROVSKI:      Are you the only owner of Esma

  8      Management or does somebody else own it with you?

  9                   MS. ELBERG:     No, I’m the only sole owner.         Just

 10      sometimes my daughter and my secretary help me.

 11                   MR. KHODOROVSKI:      Okay.     Now I’m going to ask you

 12      again questions about these companies that have filed

 13      bankruptcy; not Esma Management.            Okay, these companies that

 14      have filed bankruptcy, do these companies have any

 15      employees?

 16                   MS. ELBERG:     Right now, no one.

 17                   MR. KHODOROVSKI:      Do these companies owe any

 18      employees any unpaid salary?

 19                   MS. ELBERG:     No, nothing.       No, nothing.

 20                   MR. KHODOROVSKI:      Do these companies owe the State

 21      of New York or the IRS any taxes?

 22                   MS. ELBERG:     No, nothing at all.       Income tax, like

 23      IRS, I guess...

 24                   INTERPRETER:     Interpreter is speaking now.         Sent

 25      me back to (Indiscernible) something, and I just sent them

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18      Entered 03/08/18
                                                              02/13/18 09:23:43
                                                                       18:06:34


                                                                            Page 16

  1      back.

  2                   MS. ELBERG:     No, I pay extra and they sent me back

  3      check.

  4                   MR. KHODOROVSKI:        They gave you a refund?

  5                   MS. ELBERG:     Refund.

  6                   MR. KHODOROVSKI:        Okay, I understand.       Okay, okay.

  7      What kind of expenses do these companies have?

  8                   INTERPRETER:     I need clarification, sir.

  9                   MS. ELBERG:     I pay a salary to my secretary and

 10      I’m just paying taxes, nothing else.

 11                   MR. KHODOROVSKI:        What is the secretary’s salary?

 12      How much is it?

 13                   MS. ELBERG:     40,000 per year.

 14                   MR. KHODOROVSKI:        Is that before taxes or after

 15      taxes?

 16                   MS. ELBERG:     Okay, before taxes.

 17                   MR. KHODOROVSKI:        Does the secretary also receive

 18      any salary from Esma Management?

 19                   INTERPRETER:     One second.

 20                   MR. KHODOROVSKI:        Okay, Interpreter, can you

 21      please ask Mr. Elberg if she would like to take a break?

 22                   MS. ELBERG:     Okay.

 23                   MR. KHODOROVSKI:        Interpreter?

 24                   INTERPRETER:     Yes, she wants a break.

 25                   MR. KHODOROVSKI:        Okay.    So what we’re going to do

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                           516-608-2400
Case 1-17-46613-nhl     Doc 40-3
                            25-1    Filed 03/08/18
                                          02/13/18    Entered 03/08/18
                                                              02/13/18 09:23:43
                                                                       18:06:34


                                                                             Page 17

  1      is we’re going to take a break right now.                  The time now is

  2      10:50 a.m. on the 12th of January, 2018.                  We’re going to

  3      take a break.      I’m going to ask the interpreter to stand by.

  4      Okay, Nana, can you stand by while we’re taking a break?

  5                    INTERPRETER:     Okay, yes.

  6                    MR. KHODOROVSKI:       Thank you.

  7                    INTERPRETER:     Yes, sure.

  8                    MR. KHODOROVSKI:       We’re off the record.         Thank

  9      you.

 10                    [BREAK]

 11                    MR. KHODOROVSKI:       -- please.         Then we’ll get

 12      started again.      We are back on the record of the Section

 13      341A meeting of Bracha Cab Corp, et al., Case Number 17-

 14      46613.      The time now is 11 a.m. on the 12th of January of

 15      2018.    Interpreter, so, please, I’m going to re-ask my

 16      question.      Please translate this.

 17                    The secretary, does the secretary receive any

 18      salary from Esma Management?

 19                    MS. ELBERG:     Well, yes, I was paying salary to

 20      secretary and to bookkeeper and whatever -- yes, whatever

 21      taxes were needed to be paid I was paying from that.

 22                    MR. KHODOROVSKI:       From Esma Management?

 23                    MS. ELBERG:     Yes.

 24                    MR. KHODOROVSKI:       Okay.    Okay, let me ask

 25      something else.         Where the company is located, its office,

                                      Veritext Legal Solutions
      212-267-6868                      www.veritext.com                          516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18      Entered 03/08/18
                                                              02/13/18 09:23:43
                                                                       18:06:34


                                                                            Page 18

  1      do these companies own their office or do they lease their

  2      office?

  3                   INTERPRETER:     I need clarification, sir.

  4                   MS. ELBERG:     I don’t know.

  5                   MR. KHODOROVSKI:        Okay.    I understand.     I’m going

  6      to ask -- go ahead, Interpreter, please translate.

  7                   MS. ELBERG:     Okay.     At first I had office in Long

  8      Island City, and it was owned by my husband.                But then

  9      because the taxes were very high there, I could not afford

 10      that and I sold that office and I moved it to 1281 Carroll

 11      Street, and now it is located in my own house.                So it means

 12      I own it.

 13                   MR. KHODOROVSKI:        So, 1281 Carroll Street, that is

 14      a house where you live and you own that house, right?

 15                   MS. ELBERG:     Yes, yes, you’re correct.          I have

 16      office in the basement.

 17                   MR. KHODOROVSKI:        And the medallions, the taxi

 18      medallions --

 19                   WOMAN 1:    The first floor, not the basement.

 20                   MR. KHODOROVSKI:        The tax medallions, is there a

 21      loan on the medallions?

 22                   MS. ELBERG:     Very much.       My husband took a loan on

 23      them.

 24                   MR. KHODOROVSKI:        Okay, when was the last time

 25      that a loan payment was made on the medallions?

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                           516-608-2400
Case 1-17-46613-nhl     Doc 40-3
                            25-1   Filed 03/08/18
                                         02/13/18      Entered 03/08/18
                                                               02/13/18 09:23:43
                                                                        18:06:34


                                                                             Page 19

  1                    MS. ELBERG:     Okay.     Well, my husband has been

  2      working to the same bank from where he took the loan for 17

  3      years.      So, at this time, medallions -- the cost of

  4      medallions was very, very high, and we wanted to refinance

  5      our loan but the bank -- but bank denied us.                 And actually

  6      they made us to lose everything.

  7                    MR. KHODOROVSKI:        Okay.     I was asking something

  8      different, but let me ask it in a different way.                 Were there

  9      any payments made on the loan on the medallion in 2017?

 10                    MS. ELBERG:     They took them only from my account.

 11                    MR. KHODOROVSKI:        No, no.     Hold on, hold on, hold

 12      on.   Please let -- I’m going to ask this question again

 13      because I want the interpreter to finish interpreting and

 14      you to wait until she finishes speaking, and then you will

 15      answer, then she will translate for me, okay?                 Okay, so

 16      we’re going to...

 17                    INTERPRETER:     Okay, may I translate for her this?

 18                    MR. KHODOROVSKI:        Yes, yes, go ahead.       Absolutely.

 19      Interpreter, I apologize.          I’m going to ask you to repeat

 20      this because one of the attorneys was actually moving the

 21      table, making it a little bit uncomfortable for me.                  So, if

 22      you could, Interpreter, I’m going to ask you to interpret

 23      again and I truly apologize.

 24                    Okay, so now I’m going to ask the question.                 Did

 25      you make any payments on the taxi medallion loans last year

                                      Veritext Legal Solutions
      212-267-6868                      www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 20

  1      in 2017?

  2                   MS. ELBERG:     Yes, they took $300,000 from my

  3      account from the same bank.

  4                   MR. KHODOROVSKI:      What bank was that account in?

  5                   MS. ELBERG:     Capital One.

  6                   MR. KHODOROVSKI:      Okay.     Did you make any payments

  7      on the taxi medallion loans in 2016?

  8                   INTERPRETER:     Can I take a break?

  9                   MR. KHODOROVSKI:      Okay, we’re going to take a very

 10      brief break for a couple of minutes.             Interpreter, we’re

 11      going to take a break.        We’re off the record at the meeting

 12      of creditors in Bracha Cab.          The time now is 11:09 a.m.

 13      We’re now off the record.

 14                   [BREAK]

 15                   MR. KHODOROVSKI:      Go back on the record right now.

 16      We’re back on the record at the Section 341A meeting of

 17      Bracha Cab Corp., et al., Case Number 17-46613.               The time

 18      now is 11:14 a.m. on the 12th of January, 2018.

 19                   Okay, so the question I’m going to ask again, and

 20      Interpreter, please interpret.            In 2016, did you make any

 21      payments on the loans on the taxi medallions?

 22                   MS. ELBERG:     Yes, I did.       Yes, I paid.    They took

 23      everything out of my account, whatever was there.

 24                   MR. KHODOROVSKI:      In 2016, what was your monthly

 25      payment?

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1    Filed 03/08/18
                                         02/13/18   Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                            Page 21

  1                   MS. ELBERG:     They took $50,000 every month.

  2                   MR. KHODOROVSKI:      Okay, Interpreter, Interpreter,

  3      I understood what she said in English.                 I think that answers

  4      my question.

  5                   INTERPRETER:     Okay.

  6                   MR. KHODOROVSKI:      Okay.     Let me ask something

  7      different.     What is Wailing Management, Inc.?

  8                   MS. ELBERG:     Okay, that is Norman, who is renting

  9      six medallions from my company.

 10                   MR. PIKEN:     By counsel, it’s Newman.

 11                   MR. KHODOROVSKI:      Newman?      N-E-W-M-A-N?

 12                   MR. WEINER:     Those are the owners of it.           That’s

 13      one of the management companies that operates some of the

 14      medallions.

 15                   MR. KHODOROVSKI:      Do you own any part of Wailing

 16      Management?

 17                   MS. ELBERG:     No.

 18                   MR. KHODOROVSKI:      Do you want to have Wailing

 19      Management continue to manage your medallions or do you want

 20      somebody else to do it instead of them?

 21                   MS. ELBERG:     No, they are good.           They running

 22      good.

 23                   INTERPRETER:     Okay.

 24                   MR. KHODOROVSKI:      She answered in English.

 25      Interpreter, she answered in English.              I understood her

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18     Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                           Page 22

  1      answer.     Okay.   How -- last month, in December of 2017, how

  2      much money did the medallions bring in in total?

  3                   MS. ELBERG:    $12,300 plus 21,500 and 7,000.

  4                   MR. KHODOROVSKI:       That was all in December?           All

  5      last month, right?

  6                   MS. ELBERG:    Yes.

  7                   MR. KHODOROVSKI:       Okay.    Right now, as we sit here

  8      this morning, do these companies have a profit or a loss?

  9                   MS. ELBERG:    Loss.     Okay, I don’t know.

 10                   MR. KHODOROVSKI:       Last year, did these companies

 11      have a profit or a loss?        Last year being 2017.

 12                   MS. ELBERG:    I don’t know.        I have not gotten my

 13      tax return yet.

 14                   MR. KHODOROVSKI:       Okay.    Mr. Weiner, I’m going to

 15      ask you when these companies -- so I have the 2016 tax

 16      returns...

 17                   MR. WEINER:    Yes.

 18                   MR. KHODOROVSKI:       So, what I’d like is as soon as

 19      the 2017 returns are filed, I would like to get copies of

 20      them, okay?

 21                   MR. WEINER:    Of course.

 22                   MR. KHODOROVSKI:       Okay, Interpreter, please

 23      translate.     Ma’am, can you please hold on?           I need to ask

 24      something of the interpreter.          Interpreter, please ask, do

 25      these companies -- do these companies own any houses,

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                           516-608-2400
Case 1-17-46613-nhl     Doc 40-3
                            25-1   Filed 03/08/18
                                         02/13/18     Entered 03/08/18
                                                              02/13/18 09:23:43
                                                                       18:06:34


                                                                            Page 23

  1      condominiums, land, real property?

  2                    MS. ELBERG:    No.     No, only medallions.

  3                    MR. KHODOROVSKI:       Would you like to sell these

  4      medallions?

  5                    MS. ELBERG:    No.     Those medallions, they are like

  6      my property.      Like, they have to bring me income just to put

  7      bread on my table.

  8                    MR. KHODOROVSKI:       Last year in 2017, did these

  9      companies sell anything or give anything to anybody?

 10                    MS. ELBERG:    No, no, they did not.

 11                    MR. KHODOROVSKI:       Okay.    After these companies

 12      filed bankruptcy, have they made any payments to any of

 13      their creditors?

 14                    MS. ELBERG:    No, no, they did not.

 15                    MR. KHODOROVSKI:       Okay.    So, Mr. Weiner?

 16                    MR. WEINER:    Yes?

 17                    MR. KHODOROVSKI:       Can you please turn -- hold on,

 18      ma’am.      Just please wait.       I am speaking to your lawyer.

 19      Mr. Weiner, please show to your client Schedule A/B in the

 20      (Indiscernible) case Bracha Cab Corp, and please turn her to

 21      Question 71, 7-1, in the Schedule A/B.                 And please tell me

 22      when you’ve shown it to her.           And actually show it -- just

 23      leave it in front of her, if you can.              Thank you.

 24                    Okay, Interpreter, please ask her if she sees that

 25      document in front of her.

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18     Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                              Page 24

  1                   MS. ELBERG:    Yes.

  2                   MR. KHODOROVSKI:       Okay.     So, you see there it says

  3      that this company made a loan to your late husband of about

  4      $1.2 million.     Do you see that?

  5                   MS. ELBERG:    Yes, I do.        I see that.

  6                   MR. KHODOROVSKI:       What is this loan?

  7                   MS. ELBERG:    I don’t know.        This is just my

  8      husband who took a loan from those banks.

  9                   MR. KHODOROVSKI:       No, no.     I’m not sure she

 10      understands the question that I asked.                What I’m saying is -

 11      - it says here that the company, Bracha Cab Corp, gave your

 12      late husband a $1.2 million loan.             What happened to this

 13      $1.2 million?

 14                   MS. ELBERG:    I don’t know.        I was a housewife.

 15      Only my husband was dealing with the business.                   I don’t know

 16      that.

 17                   MR. KHODOROVSKI:       I understand.        Okay.     When your

 18      husband passed away, was there an estate in Surrogate’s

 19      Court?

 20                   MS. ELBERG:    Okay.     There was only the will, which

 21      he wrote, that after passing away, everything should have

 22      come to me.

 23                   MR. KHODOROVSKI:       Okay, I understand.

 24                   MR. WEINER:    There is a contested proceeding in

 25      Surrogate’s Court.

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                           516-608-2400
Case 1-17-46613-nhl     Doc 40-3
                            25-1    Filed 03/08/18
                                          02/13/18     Entered 03/08/18
                                                               02/13/18 09:23:43
                                                                        18:06:34


                                                                             Page 25

  1                    MR. KHODOROVSKI:        There’s a contested proceeding

  2      in Surrogate’s Court, okay.            Mr. Weiner, can you do me a

  3      favor?      So, what I need to know is, regarding the

  4      Surrogate’s Court proceeding, if you can get me the index

  5      number?

  6                    MR. WEINER:     Yes, we can do that.

  7                    MR. KHODOROVSKI:        I would appreciate it.        And the

  8      docket, if possible.         If you can’t get the docket it’s okay,

  9      just get me the index number, but docket if possible.                     I’m

 10      not giving you a deadline.            Just get it to me as soon as you

 11      can.

 12                    MR. WEINER:     Okay.     I understand.

 13                    MR. PIKEN:     We will do that.

 14                    MR. KHODOROVSKI:        Okay.    Let me ask you this

 15      question.      Why did these companies decide to file for

 16      bankruptcy?

 17                    MS. ELBERG:     Bank doesn’t give me loan.           They

 18      promise me.      And they want to take my medallions.

 19                    MR. KHODOROVSKI:        I understand.

 20                    MS. ELBERG:     Even when was high, the medallions

 21      price, they promise me and I wait two years.

 22                    WOMAN 1:     Three years.

 23                    MS. ELBERG:     Three years to get the answer from

 24      them.

 25                    MR. KHODOROVSKI:        Okay.    Interpreter, please

                                      Veritext Legal Solutions
      212-267-6868                      www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1    Filed 03/08/18
                                         02/13/18   Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 26

  1      translate this question.           As you sit here today, Ms. Elberg,

  2      are you currently under any audit or investigation by any

  3      government agencies?

  4                   MS. ELBERG:     No.

  5                   MR. KHODOROVSKI:        You don’t need to translate.

  6      She answered in English.           In the last five years, have you

  7      been under any audit or investigation by any government

  8      agency?     You personally?

  9                   MS. ELBERG:     No.

 10                   MR. KHODOROVSKI:        Have these companies been under

 11      any audit or investigation by any government agency in the

 12      last three years?        Okay, Interpreter, she’s going to not

 13      answer in...     So I’m going to repeat the question,

 14      Interpreter.

 15                   INTERPRETER:     Okay.

 16                   MR. KHODOROVSKI:        Have these companies been under

 17      any audit or investigation by any government agency in the

 18      last three years?

 19                   MS. ELBERG:     Merab Cab Corporation.

 20                   MR. KHODOROVSKI:        What happened with Merab Cab?

 21      Why was it under investigation or audit?

 22                   MR. WEINER:     It might’ve been more than three

 23      years ago.

 24                   WOMAN 1:     It was four years ago.

 25                   MS. ELBERG:     Four years ago.

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1    Filed 03/08/18
                                         02/13/18   Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                            Page 27

  1                   MR. KHODOROVSKI:        Okay, then...

  2                   MR. PIKEN:     It was 2011.

  3                   MR. KHODOROVSKI:        Okay, okay.       In 2011?   That was

  4      seven years ago.

  5                   WOMAN 1:     2010 and ’11...

  6                   MR. WEINER:     Well, it might’ve lasted into four

  7      years ago.

  8                   MR. PIKEN:     It did, yeah.

  9                   WOMAN 1:     Yeah.    It was four years ago.

 10                   MR. PIKEN:     It was resolved four years ago.

 11                   MR. KHODOROVSKI:        Resolved four years ago.        Okay,

 12      I asked about three years ago.

 13                   MR. PIKEN:     Sorry.

 14                   MR. KHODOROVSKI:        No problem.       That is okay, that

 15      is okay.     As we sit here right now, are any of these

 16      companies under any audit or investigation by any government

 17      agency?

 18                   MS. ELBERG:     No.

 19                   MR. KHODOROVSKI:        Okay, Mr. Weiner, I’m going to

 20      need to ask you some things.           So, if you remember, earlier

 21      in this examination we discussed the salary that Mr. Elberg

 22      gets, and remember, she indicated, you know, that she gets

 23      salaries?     So, the -- so what’s listed in Question 30,

 24      that’s basically, she gets a distribution in the management

 25      fee, just so I understand?

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18     Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                           Page 28

  1                   MR. WEINER:    Well, the way the companies have been

  2      operated in the past is that money would go into Esma

  3      Management, who would then pay some money to her and also to

  4      the bookkeeper as well as other expenses like the accountant

  5      and whatever taxes needed to be -- come due, rather than

  6      writing 15 individual checks.

  7                   Since the filing, all the money has just gone into

  8      the 15 Debtor in Possession accounts; no money has been

  9      disbursed to anyone.       We’re trying to -- we have, you know -

 10      - pending trying to work out a budget with the bank and

 11      trying to figure out what’s the easiest way to do that.

 12      Whether we should be now doing it 15 different ways or

 13      continue to use Esma Management -- we haven’t decided.                   And

 14      your thoughts on the matter would also be --

 15                   MR. KHODOROVSKI:       But does Esma -- let me just

 16      sort of ask it in a different way.

 17                   MR. WEINER:    Yeah.

 18                   MR. KHODOROVSKI:       Does Esma get a management fee?

 19      Is Esma still getting a management fee?

 20                   MR. WEINER:    No.     No, nobody has gotten anything

 21      since the filing.

 22                   MR. KHODOROVSKI:       Okay.    But -- I apologize, I’m

 23      speaking to Mr. Weiner right now.            I apologize, Ms. Elberg,

 24      I just wanted to finish my conversation with him, and then

 25      definitely you can discuss with him the issue that I’m

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18   Entered 03/08/18
                                                           02/13/18 09:23:43
                                                                    18:06:34


                                                                         Page 29

  1      discussing with him right now.

  2                   My question is so, before -- so, since the filing

  3      --

  4                   MR. WEINER:    Right.

  5                   MR. KHODOROVSKI:      -- since the filing, all the

  6      money that’s been made from the medallions have been going

  7      to the Debtor in Possession accounts?

  8                   MR. WEINER:    Yes.     There’s about --

  9                   MR. KHODOROVSKI:      And it’s not been going to Esma?

 10                   MR. WEINER:    No.    It’s all in the 15 Debtor in

 11      Possession accounts.       There’s about -- a little over

 12      $101,000 as of the end of the day Wednesday.

 13                   MR. KHODOROVSKI:      So they’re all going to the DIP

 14      account, and nothing is going to Esma?

 15                   MR. WEINER:    Nothing is going to Esma or anybody

 16      else.

 17                   MR. KHODOROVSKI:      Okay, that’s what I wanted to

 18      know right now.     But before the filing, there was a

 19      distribution to Ms. Elberg and a management fee to Esma?

 20                   MR. WEINER:    Well, there was a distribution to

 21      Esma and then she took some money out of Esma.

 22                   MR. KHODOROVSKI:      I understand now.      So, the

 23      distribution came directly from the taxi medallion holders

 24      to Esma...

 25                   MR. WEINER:    Right.

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18   Entered 03/08/18
                                                           02/13/18 09:23:43
                                                                    18:06:34


                                                                           Page 30

  1                   MR. KHODOROVSKI:      And then Ms. Elberg took a

  2      distribution from that money?

  3                   MR. WEINER:    Yes.

  4                   MR. KHODOROVSKI:      Now I understand.      Okay.    Okay,

  5      the next question is also for you.            So, businesswise, Mr.

  6      Weiner, or legally --

  7                   MR. WEINER:    Yes?

  8                   MR. KHODOROVSKI:      -- what do these companies need

  9      to do to get out of bankruptcy?

 10                   MR. WEINER:    Well, there’s -- these companies on

 11      their own, given the reduction both in the value of the

 12      medallions and the income that they generate over the last

 13      two or three years, as everybody is aware of in this

 14      industry, cannot generate enough money to get out of it.

 15      But there is a large amount of money sitting in an escrow

 16      account from the sale of the buildings that her husband

 17      owned in Queens.     And that money is tied up in the

 18      litigation --

 19                   MR. KHODOROVSKI:      Folks, folks?      I apologize.       If

 20      you could just let Mr. Weiner speak, because I need to have

 21      him be heard for the record.

 22                   MR. WEINER:    And there’s litigation pending both

 23      in State Supreme Court and the Surrogate’s Court regarding

 24      this money, and we are hoping to be able to use that money

 25      to pay -- to pay the bank.

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 31

  1                   Ideally, it would be to pay them down

  2      significantly and have them refinance a much smaller

  3      balance, something that the companies can afford to keep --

  4      afford to pay.     Because these companies do generate -- they

  5      do generate money every month, and there’s a belief that the

  6      taxi medallion business has sort of hit bottom and might

  7      start to improve in the near future.            But even if it stayed

  8      at its current level, these companies generate money and

  9      could service a much smaller amount of debt with really --

 10      you know, without any problems.

 11                   MR. KHODOROVSKI:      Well, let me ask something in a

 12      slightly different way.       What I wanted to understand is --

 13      so you said there’s litigation regarding the proceeds from

 14      the sale of the buildings in Queens?

 15                   MR. WEINER:    Yes.    Yes.

 16                   MR. KHODOROVSKI:      And that’s tied up in

 17      Surrogate’s Court and what other court you said?

 18                   MR. WEINER:    And it’s also in State Supreme Court.

 19                   MR. KHODOROVSKI:      State Supreme Court.       Which

 20      county?

 21                   MR. WEINER:    New York.

 22                   MR. KHODOROVSKI:      Manhattan?

 23                   MR. WEINER:    Yes.

 24                   MR. KHODOROVSKI:      Okay.    So what I’d like to ask

 25      you --

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                          516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1    Filed 03/08/18
                                         02/13/18     Entered 03/08/18
                                                              02/13/18 09:23:43
                                                                       18:06:34


                                                                            Page 32

  1                   MR. WEINER:     The Surrogate’s Court is in Brooklyn.

  2                   MR. KHODOROVSKI:        Brooklyn Surrogate’s Court and

  3      State Supreme in Manhattan?

  4                   MR. WEINER:     Yes.

  5                   MR. PIKEN:     Correct.

  6                   MR. KHODOROVSKI:        Okay, so what I’m going to need

  7      from you is, regarding those -- the proceedings regarding

  8      the buildings?

  9                   MR. WEINER:     Yes.

 10                   MR. KHODOROVSKI:        What I’d like to get are the

 11      index numbers and dockets for those State Court proceedings,

 12      okay?

 13                   MR. WEINER:     Okay.     We will do that, too.        It’s

 14      just the two cases, right?

 15                   MR. KHODOROVSKI:        Just the State Court cases, yes,

 16      that’s what I need.        Index numbers and dockets.          Okay?

 17                   MR. WEINER:     Yeah.     We will get that to you.

 18                   MR. KHODOROVSKI:        Okay.    Now, let me ask you this.

 19      Are the companies going to continue paying Ms. Elberg

 20      from...?

 21                   MR. WEINER:     We haven’t figured out what the

 22      proper thing to do...        Maybe it’d make more sense for her to

 23      not get a salary but maybe get a small amount of rent every

 24      month, and then she can live off -- she can use that as her

 25      salary.     We will need to pay a salary to the bookkeeper,

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 33

  1      because the bookkeeper is doing --

  2                   WOMAN 1:    And the taxes.

  3                   MR. WEINER:    Because the bookkeeper is doing work,

  4      you know, and then there is an accountant who will need to

  5      be retained -- get a small fee just for preparing tax

  6      returns.     The bookkeeper will be able to do all the

  7      operating reports every...

  8                   MR. KHODOROVSKI:      The bookkeeper will stay on

  9      salary?

 10                   MR. WEINER:    Right.

 11                   MR. KHODOROVSKI:      Okay.    So, now the issue of Ms.

 12      Elberg’s salary has not been figured out?

 13                   MR. WEINER:    We have not figured out what the best

 14      way to --

 15                   MR. KHODOROVSKI:      And so you’re going to have to

 16      deal with a real cash collateral issue, obviously?

 17                   MR. WEINER:    Yes, we are.

 18                   MR. KHODOROVSKI:      Okay.

 19                   MR. WEINER:    Which is why, until this is worked

 20      out, why all the money is just sitting there and nothing has

 21      been disbursed.

 22                   MR. KHODOROVSKI:      I understand.      Okay.   Okay, so

 23      let me and you discuss the issue of retentions.

 24                   MR. WEINER:    Yes.

 25                   MR. KHODOROVSKI:      So you’re going to need to file

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                          516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1    Filed 03/08/18
                                         02/13/18   Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 34

  1      your retention application, right?

  2                   MR. WEINER:     Yes.

  3                   MR. KHODOROVSKI:       And you also need to file a

  4      (Indiscernible) motion.

  5                   MR. WEINER:     We are going to do that also.         The

  6      only thing that could delay that slightly is that it’s come

  7      to my attention just within the last week that there are

  8      some other creditors out there who have unliquidated

  9      disputed contingent claims that we don’t anticipate ever

 10      getting to the Debtor to have to pay, but they need to be

 11      listed as creditors.

 12                   These creditors are -- when you have cabs out on

 13      the street of New York, they get into accidents.

 14                   MR. KHODOROVSKI:       Personal injury claimants?

 15                   MR. PIKEN:     Unresolved tort claims.

 16                   MR. WEINER:     Some of them are property damage

 17      claims, some of them are injury claims. They’re unresolved,

 18      and there has yet in the history of these companies to be a

 19      claim that was not either, you know, resolved because their

 20      claim was not valid or it wasn’t paid by the insurance

 21      company.     But there are -- at any given time, when somebody

 22      gets hurt, they may assert a claim not only against the

 23      driver and the owner of the car but also against the owner

 24      of the medallion.        So --

 25                   MR. KHODOROVSKI:       I understand.      Okay.   My last

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1    Filed 03/08/18
                                         02/13/18   Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                               Page 35

  1      question for you, Mr. Weiner, is when do these companies

  2      expect to file a plan?        30 days?      60 days?       90 days?    A

  3      year?   Two years?       Three years?

  4                   MR. PIKEN:     Are you giving us those options?

  5                   MR. KHODOROVSKI:        I’m not giving you options.                I’m

  6      just saying what’s the estimate?

  7                   MR. WEINER:     It’s really hard for me to do.                It

  8      would be certainly more than three months and less than a

  9      year but I can’t --

 10                   MR. KHODOROVSKI:        So, in three months to a year?

 11                   MR. WEINER:     Yeah.

 12                   MR. KHODOROVSKI:        Okay, that’s the kind of --

 13      that’s fine as far as answering the...                 Okay.   So I’m done

 14      with questions of Ms. Elberg.           What I’m going to do right

 15      now is -- Interpreter, please translate this:                  Ms. Elberg, I

 16      have finished my questions of you.             I’m going to give you

 17      some instructions.        So, Interpreter, please translate these

 18      instructions.

 19                   Okay, every month these companies, each of these

 20      companies is going to need to file what is known as a

 21      monthly operating report.         And these reports have to comply

 22      with guidelines made by my office, and your lawyer has a

 23      copy of those guidelines.

 24                   Every quarter -- every quarter my office is going

 25      to send each of these companies a bill for what is known as

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                          516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 36

  1      the United States Trustee quarterly fees.             And as long as

  2      this -- as long as these bankruptcy cases are open, each

  3      quarter a bill will come.

  4                   And if you don’t pay these fees -- and if these

  5      companies...     Withdrawn.     If these companies don’t pay these

  6      bills on time, there will be interest assessed on unpaid

  7      quarterly fees.     Do you understand these requirements?

  8                   MS. ELBERG:    Yes, I do.

  9                   MR. KHODOROVSKI:      Do you understand that if these

 10      companies do not file their monthly operating reports on

 11      time and do not pay their quarterly fees on time, that my

 12      client, the United States Trustee, might ask the Court to

 13      dismiss these cases to convert them to Chapter 7 to

 14      liquidate these companies or to have -- to ask the Court to

 15      appoint a trustee to run these companies instead of you?

 16                   MS. ELBERG:    Yes, I understand.

 17                   MR. KHODOROVSKI:      Okay.    So, Mr. Weiner --

 18      Interpreter, you don’t need to translate this -- Mr. Weiner,

 19      again, I’m going to repeat the information I requested.                   I

 20      need the 2017 tax return as soon as filed; and as soon as

 21      you can, I’m going to need the index number and docket

 22      number for the Surrogate’s case; index numbers and docket

 23      numbers for the Brooklyn and Manhattan proceedings involving

 24      the buildings.

 25                   MR. WEINER:    Yes.

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                          516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18      Entered 03/08/18
                                                              02/13/18 09:23:43
                                                                       18:06:34


                                                                            Page 37

  1                   MR. KHODOROVSKI:        Okay?    So, the United States

  2      Trustee has completed questions of the Debtor.                 At this time

  3      I’m going to turn the floor over to Creditors.                 Creditors,

  4      please remember the instructions I’ve given you before.

  5      Please address your questions to the interpreter, and you

  6      may proceed.     Once -- before you ask your first question,

  7      you need to identify yourself and explain who you represent.

  8                   MR. FORSTOT:     Thank you.       Jonathan Forstot of

  9      Troutman Sanders on behalf of Capital One.

 10                   MR. KHODOROVSKI:        Interpreter, can you please

 11      translate for Mr. Forstot as you did for me?                 And please

 12      translate his introduction.

 13                   MS. ELBERG:     I understand.

 14                   MR. KHODOROVSKI:        Go ahead, Mr. Forstot.

 15                   MR. FORSTOT:     Who is the decision maker for these

 16      companies?

 17                   MR. KHODOROVSKI:        I’m sorry, I don’t understand

 18      your question.     What do you mean by that?            Like, who decides

 19      -- makes decision on a daily basis?              I mean...

 20                   MR. FORSTOT:     Who makes any decisions for these

 21      companies?

 22                   MR. KHODOROVSKI:        Okay.    So you can go ahead and

 23      ask the interpreter.

 24                   MS. ELBERG:     I do.

 25                   MR. FORSTOT:     That’s been the case since you took

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 38

  1      over these companies after your husband’s passing?

  2                   MS. ELBERG:     Yes.    Yes, it was.

  3                   MR. FORSTOT:     Does your daughter, who’s in the

  4      room with us today, have any position with any of these

  5      companies?

  6                   MS. ELBERG:     She’s an executor.

  7                   MR. FORSTOT:     But does she have any position with

  8      these companies, not with the estate of your late husband

  9      but with these companies that are in bankruptcy?

 10                   MS. ELBERG:     No.    No.   It’s just -- she just helps

 11      me.

 12                   MR. FORSTOT:     I’ll also note for the record that

 13      Ms. Elberg’s daughter has been speaking throughout this

 14      proceeding, coaching the answers, so I want to make that

 15      clear on the record what she’s been -- she’s been speaking

 16      in Georgian so I can’t understand what she’s been saying,

 17      but she’s been helping her mother answer all these

 18      questions.

 19                   MR. KHODOROVSKI:       Please proceed with the

 20      questions.

 21                   INTERPRETER:     Should I translate, sir?

 22                   MR. KHODOROVSKI:       Yes, you should.      Yeah, you can

 23      translate, Interpreter, yes.

 24                   MR. FORSTOT:     In the schedules that you filed and

 25      signed in these cases you used the value of $375,000 per

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 39

  1      medallion, is that right?

  2                   INTERPRETER:     Okay, can you clarify, sir?

  3                   MR. FORSTOT:     Yes.     Maybe it’s a good idea to look

  4      at -- show your client the same one she was just looking at

  5      from Bracha as an example.           Schedule A/B, Question 64.

  6                   MR. WEINER:     The value for two medallions.

  7                   MS. ELBERG:     750,000.

  8                   MR. WEINER:     For two?

  9                   MS. ELBERG:     For two.

 10                   MR. FORSTOT:     So, now that you’ve looked at that,

 11      do you recall using the value of $375,000 per medallion?

 12                   MS. ELBERG:     Yes, that is correct.

 13                   MR. FORSTOT:     Where did you get that value from?

 14                   MS. ELBERG:     (Indiscernible)

 15                   MR. FORSTOT:     I’m sorry?

 16                   MS. ELBERG:     (Indiscernible) Limousine Commission.

 17                   MR. FORSTOT:     Again, Ms. Elberg’s daughter is

 18      giving her these answers.         Please translate.

 19                   MS. ELBERG:     So, that’s how I was told -- that

 20      this is the value.

 21                   MR. FORSTOT:     By whom were you told that this is

 22      the value?

 23                   MS. ELBERG:     Okay, everybody who has medallions,

 24      everybody knows that.

 25                   MR. FORSTOT:     Everybody knows that 375,000 is the

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl     Doc 40-3
                            25-1   Filed 03/08/18
                                         02/13/18    Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                           Page 40

  1      value?      Is that what you’re saying?

  2                    MS. ELBERG:     Okay, it is now, but before it was

  3      300...

  4                    INTERPRETER:     Okay, sorry, I could not understand

  5      what she said.      301,000, I think?

  6                    MR. WEINER:     No, that’s not what she said.

  7                    MS. ELBERG:     I said before was high price and now

  8      is low.

  9                    INTERPRETER:     Okay, she means that this was the

 10      highest price --

 11                    MR. WEINER:     No.

 12                    INTERPRETER:     Highest value of medallions but now

 13      it is --

 14                    MR. KHODOROVSKI:        Interpreter, Interpreter, she

 15      was speaking in English.            You don’t need to translate.         She

 16      was speaking in English.            Interpreter, you don’t need to

 17      translate from English to English.

 18                    MR. WEINER:     Especially incorrectly.

 19                    INTERPRETER:     Sorry for that.

 20                    MR. KHODOROVSKI:        Interpreter, you don’t need to

 21      translate from English to English.              You should translate

 22      when she speaks Georgian.

 23                    MR. FORSTOT:     Let me ask it this way then.         What

 24      do you believe today is the value of each medallion?

 25                    MS. ELBERG:     375.

                                      Veritext Legal Solutions
      212-267-6868                      www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 41

  1                   MR. KHODOROVSKI:      She’s answering fine...

  2                   MR. WEINER:     She’s doing fine, let her answer.

  3                   MS. ELBERG:     (Indiscernible) it’s cost $375,000.

  4                   MR. FORSTOT:     Okay, so you believe today it’s

  5      worth -- each one is worth $375,000?

  6                   MS. ELBERG:     I think so.

  7                   MR. FORSTOT:     Okay, and so back to my original

  8      question -- where do you get that number from?              Why do you

  9      think 375 as opposed to 350 or 450?

 10                   MS. ELBERG:     I hear people talks.       This price is

 11      now.   Because they sell on the market.

 12                   MR. FORSTOT:     Okay, who -- when you say you hear

 13      people talk, who are the people that you heard talk that led

 14      you to that belief as to the value?

 15                   MS. ELBERG:     Whoever has medallions, whoever owns

 16      medallions, they say.

 17                   MR. FORSTOT:     Other than what you just testified,

 18      is there any other basis you have for saying these values --

 19      that the medallions are worth 375,000?

 20                   MS. ELBERG:     I know -- I know that they were sold

 21      for that price on the market.

 22                   MR. FORSTOT:     Okay.     What medallions were sold for

 23      that price?

 24                   MS. ELBERG:     (Indiscernible)

 25                   MR. FORSTOT:     Can you give me the names of the

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl     Doc 40-3
                            25-1   Filed 03/08/18
                                         02/13/18    Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                           Page 42

  1      owners of the medallions that sold for that price?

  2                    MS. ELBERG:     I don’t know this.

  3                    MR. FORSTOT:     Can you give me an auction that you

  4      know of where they were sold for that price?

  5                    MR. KHODOROVSKI:      Okay, Counsel, I don’t think you

  6      need to -- you’re asking the same question four different

  7      times.      I think it’s -- just limit yourself to one question.

  8                    MR. WEINER:     There was a schedule of recent sales

  9      that she looked at, and there was a sale even for 400,000.

 10                    MR. FORSTOT:     Mr. Weiner, you’re not under oath.

 11      Let me ask the questions of the Debtor’s representative that

 12      you’ve tendered today at this meeting of creditors and we’ll

 13      get her testimony, not yours.

 14                    MR. WEINER:     Mine’s more (Indiscernible).

 15                    MR. FORSTOT:     All right, so we’ll move on to the

 16      same schedule --

 17                    MR. KHODOROVSKI:      Mr. Weiner, I’m not sure that’s

 18      a reason for levity.

 19                    MR. WEINER:     No, no, I’m --

 20                    MR. KHODOROVSKI:      Mr. Weiner, I’m not sure that’s

 21      a reason for levity.         I’m a little confused.

 22                    MR. FORSTOT:     Why don’t we move on to the

 23      schedules to Number 71 that the attorney for the U.S.

 24      Trustee had asked you about briefly before.              So, the loan.

 25                    MR. KHODOROVSKI:      Okay, Interpreter, can you

                                      Veritext Legal Solutions
      212-267-6868                      www.veritext.com                         516-608-2400
Case 1-17-46613-nhl     Doc 40-3
                            25-1   Filed 03/08/18
                                         02/13/18    Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                           Page 43

  1      please interpret the question for her?

  2                    INTERPRETER:     Sure.     Can you repeat the question?

  3      What was the question?

  4                    MR. KHODOROVSKI:      Yes.     Mr. Forstot, please repeat

  5      the question and the interpreter will translate.

  6                    MR. FORSTOT:     We’re turning in the same schedule

  7      for Bracha to Question 71.          It’s a question within the

  8      schedules that the attorney for the U.S.                Trustee had

  9      previously asked the Debtor’s representative about.                   Are you

 10      there?      Do you see where I’m talking about?

 11                    MS. ELBERG:     Okay, I know that my husband was

 12      taking loans but I don’t know anything about those loans.

 13                    MR. FORSTOT:     Let me ask you this:         Is there any

 14      document like a note that shows the terms of the loan?

 15                    WOMAN 1:    She didn’t translate properly.          Could

 16      you re-ask the question?

 17                    MR. FORSTOT:     Is there a note or other writing

 18      that sets forth the terms of this loan?

 19                    MS. ELBERG:     No, I don’t have anything.         I just

 20      don’t know.      My husband was doing that and I don’t know

 21      anything about that.

 22                    MR. FORSTOT:     Does the loan bear interest?

 23                    MR. KHODOROVSKI:      Okay, Counsel, can you ask in a

 24      much simpler way so that the interpreter -- because using

 25      words like “bear”, I mean, it’s a little complicated for the

                                      Veritext Legal Solutions
      212-267-6868                      www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 44

  1      interpreter.     Let me ask it somewhat differently.            Is there

  2      any interest on the loan?

  3                   INTERPRETER:     That’s fine.       I know the word

  4      “bearing”.

  5                   MS. ELBERG:     The loan was bearing like very high

  6      interest.

  7                   MR. PIKEN?:     I’m sorry.      I don’t think she

  8      understood your question.

  9                   MR. WEINER:     I think she was talking about your

 10      client’s loan, not the --

 11                   MR. FORSTOT:     Okay, the loan --

 12                   MR. KHODOROVSKI:      I apologize, let me interrupt

 13      you.   I’m going to ask the question.            I think I know what

 14      you’re looking to get.        The loan that your husband got from

 15      this company, was there any interest that he had to pay back

 16      to the company?

 17                   MS. ELBERG:     2 percent for tax returns, otherwise

 18      I don’t know anything.

 19                   MR. KHODOROVSKI:      2 percent for tax returns?           I’m

 20      not following that.        Where did you get the number, 2 percent

 21      interest from?

 22                   MS. ELBERG:     Okay, it was written on my tax

 23      returns.

 24                   MR. KHODOROVSKI:      When is the loan due?        Have you

 25      made a demand of the estate to pay that loan?

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 45

  1                   MR. WEINER:     I know exactly what they’re...            Don’t

  2      worry.

  3                   MR. KHODOROVSKI:      Have you asked the estate to pay

  4      the loan back -- your husband’s estate?

  5                   MS. ELBERG:     Okay, who should have paid me back,

  6      bank or who?

  7                   MR. KHODOROVSKI:      Okay, let me ask it differently.

  8                   MR. WEINER:     Yeah, because I think she’s not

  9      understanding.

 10                   MR. KHODOROVSKI:      Okay, the loan -- the loan that

 11      the company gave to your late husband, have you made any

 12      request from your late husband’s estate that this loan be

 13      paid back?

 14                   MS. ELBERG:     I don’t know anything about that.

 15                   MR. FORSTOT:     You see on the document we were just

 16      looking at, Question 71...

 17                   MR. WEINER:     I don’t know if I want them to know.

 18                   MR. FORSTOT:     Are you guys...?

 19                   MR. KHODOROVSKI:      I’m sorry, Counsel, do you want

 20      a break or what are you...?

 21                   MR. WEINER:     No, I’m sorry.

 22                   MR. KHODOROVSKI:      Okay, so then please let Mr.

 23      Forstot ask his questions.

 24                   MR. WEINER:     I apologize, Mr. Forstot.

 25                   MR. FORSTOT:     Thank you.       If you look at the

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                            Page 46

  1      document we were just looking at, please, above where it

  2      says Doubtful or Uncollectable Amount, you wrote Zero, and

  3      that’s what you signed under oath.             What did you base that

  4      on that there’s zero part of this loan that is doubtful or

  5      uncollectable?

  6                   MS. ELBERG:     Well, tell you the truth, I don’t --

  7      I’m not very knowledgeable in business affairs but whatever

  8      I know -- I’m just answering whatever I know.

  9                   MR. FORSTOT:     Look at the same document, Question

 10      30, please?

 11                   MR. KHODOROVSKI:      In which schedule?

 12                   MR. WEINER:     It’s A/B again?

 13                   MR. FORSTOT:     Schedule A/B.        It’s the same

 14      document -- the same thing that the U.S.               Trustee’s counsel

 15      --

 16                   MR. KHODOROVSKI:      No, you’re referring to the

 17      Statement of Financial Affairs.            Because right now you’re

 18      looking at a different...

 19                   MR. WEINER:     I don’t see a Question 30...

 20                   MR. KHODOROVSKI:      The Question 30 --

 21                   MR. FORSTOT:     It’s in the SOFAs?

 22                   MR. KHODOROVSKI:      It’s in the Statement of

 23      Financial Affairs.

 24                   MR. FORSTOT:     Sorry.

 25                   MR. KHODOROVSKI:      Okay.     So please re-ask your

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 47

  1      question so the interpreter can understand it.              Just go --

  2                   MR. WEINER:     So that I can find it for her.

  3                   MR. KHODOROVSKI:        You know what?    Let me just make

  4      a suggestion.

  5                   MR. WEINER:     Sure.

  6                   MR. KHODOROVSKI:        If you could ask your questions

  7      in like, short one-sentence increments, make it very simple

  8      words so the interpreter can very easily and quickly

  9      translate, it just will make things go faster.

 10                   MR. FORSTOT:     Thank you.       We’re looking at the

 11      Statement of Financial Affairs, Question 30.              Do you see

 12      that?

 13                   MS. ELBERG:     Yeah.

 14                   MR. FORSTOT:     Now, in 30 it says that you

 15      personally took a distribution in May of 2017 of $21,000.

 16      Do you see that?

 17                   MS. ELBERG:     I took for lawyers, to pay.

 18                   MR. KHODOROVSKI:        Okay, you need to answer the

 19      question in Georgian, and the interpreter --

 20                   MS. ELBERG:     I took that money out because -- for

 21      distribution to give to lawyers.            To pay lawyers.

 22                   MR. FORSTOT:     Who made the decision that it was

 23      appropriate to take the money out of Bracha to do that?

 24                   MS. ELBERG:     I made the decision because it was --

 25      it was mandatory just to pay people who were working for me.

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl     Doc 40-3
                            25-1    Filed 03/08/18
                                          02/13/18   Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                           Page 48

  1                    MR. FORSTOT:     Who -- what lawyer did you use to

  2      pay that money with?

  3                    MS. ELBERG:     I paid the lawyer.

  4                    MR. FORSTOT:     I’m not saying...        All right, let me

  5      ask it this way.         Let me ask it this way.        Was it a lawyer

  6      for Bracha that you used that $21,000 to pay?

  7                    MS. ELBERG:     I don’t know their names.        I just pay

  8      lawyers who work for me.

  9                    MR. FORSTOT:     When you say work for me, work for

 10      who?     Who do the lawyers represent?

 11                    MS. ELBERG:     I pay like -- I need lawyers who work

 12      for me to help me and not to lose everything.

 13                    MR. FORSTOT:     And you said you don’t know the

 14      names of the lawyers that you paid?              When you say every

 15      lawyers, can you name any of them that you paid with this

 16      money?      When you say this -- just, we need a name.

 17                    MR. KHODOROVSKI:      Mr. Piken -- let the record

 18      reflect that Ms. Elberg pointed to Mr. Piken.

 19                    MR. PIKEN:     There were other lawyers too, right?

 20                    MR. FORSTOT:     Any other lawyers you paid with that

 21      money?      I’m sorry?

 22                    MS. ELBERG:     Who helps me.

 23                    MR. FORSTOT:     Who else besides Mr. Piken?

 24                    MR. WEINER:     Do you have the names of these

 25      lawyers?

                                      Veritext Legal Solutions
      212-267-6868                      www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18      Entered 03/08/18
                                                              02/13/18 09:23:43
                                                                       18:06:34


                                                                            Page 49

  1                   MS. ELBERG:     I don’t know everybody’s name, but I

  2      know all the lawyers.

  3                   MR. KHODOROVSKI:        Okay, Interpreter, can you

  4      please translate this for me?           Other than Mr. Piken, which

  5      other lawyers did you pay in 2017?

  6                   MS. ELBERG:     I have all papers here in front of

  7      me.   I don’t know exact names of them.

  8                   MR. KHODOROVSKI:        Is Mr. Weiner one of them?

  9                   MS. ELBERG:     Yes.

 10                   MR. KHODOROVSKI:        Okay.    Mr. Forstot, you may

 11      continue.

 12                   MR. FORSTOT:     When did you start paying Mr.

 13      Weiner?

 14                   MS. ELBERG:     When I filed for bankruptcy.

 15                   MR. FORSTOT:     The agreement with Wailing

 16      Management, I want to ask you a question or two about that.

 17                   MR. KHODOROVSKI:        Okay, so ask her to turn to a

 18      particular schedule and just go through it slowly.

 19                   MR. FORSTOT:     Okay, it’s in the Schedule G.

 20                   MR. KHODOROVSKI:        Okay, Interpreter, can you

 21      please -- Mr. Weiner, please turn your client to Schedule

 22      Go, G as in George.

 23                   MR. WEINER:     Okay.

 24                   MR. KHODOROVSKI:        Mr. Weiner, is she looking in

 25      Schedule G, G as in George?

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18     Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                           Page 50

  1                   MR. WEINER:     She is.

  2                   MR. KHODOROVSKI:       Okay.    Mr. Forstot, you may

  3      continue.

  4                   MR. FORSTOT:     Did you negotiate this agreement

  5      with Wailing Management?

  6                   MS. ELBERG:     Yes, I did.

  7                   MR. FORSTOT:     Okay.     How long is that agreement in

  8      place for?

  9                   MS. ELBERG:     Three years.

 10                   MR. FORSTOT:     It has three more years or -- when

 11      does it end?

 12                   MS. ELBERG:     Not too much...

 13                   WOMAN 1:    If you don’t know, why don’t you say

 14      don’t know?

 15                   MS. ELBERG:     I don’t know.

 16                   MR. WEINER:     When it’s over.

 17                   MS. ELBERG:     I can’t say.

 18                   MR. FORSTOT:     How much per medallion do they pay

 19      per month under that agreement?

 20                   MS. ELBERG:     Now they pay me 1,200.

 21                   MR. WEINER:     Each medallion.

 22                   MS. ELBERG:     Each medallion.

 23                   MR. FORSTOT:     1,200 per month per medallion?

 24                   MS. ELBERG:     Yes.

 25                   MR. FORSTOT:     There’s another company I noticed in

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                          516-608-2400
Case 1-17-46613-nhl     Doc 40-3
                            25-1   Filed 03/08/18
                                         02/13/18    Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


                                                                             Page 51

  1      the other schedules that you have an agreement with besides

  2      Wailing --

  3                    MR. WEINER:     There’s two other companies.

  4                    MR. FORSTOT:     Two other companies?

  5                    MR. KHODOROVSKI:      Just show her schedule and page

  6      and...      Okay.

  7                    MR. WEINER:     There are three management companies:

  8      There’s Arthur Leasing, which manages for Dabri, Fit, Merab,

  9      and Tamar; there’s Wailing, which manages for Bracha,

 10      Dovbear, and New York Genesis; and then there’s Napasei Taxi

 11      Management, which manages for Jackhel, Jarub, Lechaim, New

 12      York Canteen, New York Energy, New York Stance, New York

 13      Tint, and Somyash.

 14                    MR. FORSTOT:     Thank you.       Let me ask you the

 15      questions about Arthur then.           I know the attorney for the

 16      U.S.     Trustee had asked whether there was any relationship

 17      between you or your companies other than the lease in

 18      Wailing.      Do you want to translate that before I move on?

 19                    MR. KHODOROVSKI:      Interpreter?

 20                    INTERPRETER:     Oh, yes, yes.        Okay.     Can you speak

 21      up, sir?

 22                    MR. WEINER:     Why don’t you just simply ask her

 23      whether she has any connection with any of the --

 24                    MR. KHODOROVSKI:      You know what?          Let me ask in a

 25      very, very simple way.         Do you own any part of Arthur

                                      Veritext Legal Solutions
      212-267-6868                      www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18    Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


                                                                          Page 52

  1      Leasing?

  2                   MS. ELBERG:     No.

  3                   MR. FORSTOT:     Does anybody else that you’re

  4      related to have any interest in Arthur Leasing?

  5                   MS. ELBERG:     Nobody.      Nobody.

  6                   MR. FORSTOT:     Okay, and the same question for

  7      Napiere?

  8                   SEVERAL: Napasei.

  9                   MR. FORSTOT:     I’m sorry, Napasei.

 10                   MS. ELBERG:     It’s a black lady.        Nice lady.      I’m

 11      not really like that.

 12                   MR. FORSTOT:     I guess, let me ask this to Mr.

 13      Weiner.     I had similar questions obviously about the loans -

 14      -

 15                   MR. WEINER:     Right.

 16                   MR. FORSTOT:     -- and about the distributions, and

 17      about the valuations that appear repeatedly on each of

 18      these.

 19                   MR. WEINER:     Right.

 20                   MR. FORSTOT:     I don’t want to have to go

 21      through...

 22                   MR. WEINER:     Right.     She would give similar

 23      answers.

 24                   MR. FORSTOT:     She would give a similar answer on

 25      each one, I assume?

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18      Entered 03/08/18
                                                              02/13/18 09:23:43
                                                                       18:06:34


                                                                            Page 53

  1                   MR. WEINER:     She would give similar answers, yes.

  2                   MR. FORSTOT:     All right.

  3                   MR. KHODOROVSKI:        Because, honestly, we can go

  4      through them but that’s going to take quite a while.

  5                   MR. FORSTOT:     Right, that’s my point.          Okay, the

  6      paper you have with you, what is -- who prepared that?                    The

  7      bookkeeping?

  8                   MS. ELBERG:     My bookkeeper.

  9                   MR. FORSTOT:     The bookkeeper.          Can I see it?

 10                   MR. WEINER:     Sure.

 11                   WOMAN 1:    Would you like a copy?

 12                   MR. WEINER:     It’s just a list of all the -- we

 13      broke down the management companies --

 14                   WOMAN 1:    Per medallion.

 15                   MR. WEINER:     -- per medallion.          How much each

 16      month the medallion generates for the management company,

 17      and how much the management company turns over to each of

 18      the individual (Indiscernible).

 19                   MR. FORSTOT:     We’d be happy to give you that.

 20      We’ve already supplied the --

 21                   MR. KHODOROVSKI:        I have a copy of it, yeah.

 22                   MR. FORSTOT:     Okay, I don’t have anything further

 23      at this time.

 24                   MR. KHODOROVSKI:        Okay.    Okay, so the United

 25      States Trustee -- Interpreter, please translate for me.                     The

                                     Veritext Legal Solutions
      212-267-6868                     www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18   Entered 03/08/18
                                                           02/13/18 09:23:43
                                                                    18:06:34


                                                                         Page 54

  1      United States Trustee and the creditors have completed

  2      questions of this Debtor at this time.

  3                   Are there any parties -- other parties present who

  4      want to ask questions now?        Hearing silence, I’m going to

  5      note that there are no other parties present who want to ask

  6      questions.     Therefore, this meeting of creditors is now

  7      closed.     Please tell the Debtor this meeting of creditors is

  8      now closed.

  9                   Please thank the Debtor for coming and please

 10      inform her that we are now off the record.            And the time now

 11      is 12:09 p.m. on the 12th of January, 2018.

 12                   Thank you to everyone for coming.         We are now off

 13      the record.     Thank you.

 14                   (Whereupon these proceedings were concluded at

 15      12:09 PM.)

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                         516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18   Entered 03/08/18
                                                           02/13/18 09:23:43
                                                                    18:06:34


                                                                         Page 55

  1                           C E R T I F I C A T I O N

  2

  3              I, Sonya Ledanski Hyde, certified that the foregoing

  4      transcript is a true and accurate record of the proceedings.

  5

  6

  7

  8      Sonya Ledanski Hyde

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20      Veritext Legal Solutions

 21      330 Old Country Road

 22      Suite 300

 23      Mineola, NY 11501

 24

 25      Date:     January 31, 2018

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                         516-608-2400
Case 1-17-46613-nhl   Doc 40-3
                          25-1   Filed 03/08/18
                                       02/13/18     Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


    [& - assigned]                                                                   Page 1

              &           2013 7:2 8:2                      6           ahead 5:10 13:21
     & 3:3 8:15,18        2014 8:4                60 35:2                 13:21 18:6 19:18
                          2016 14:17 20:7         64 39:5                 37:14,22
              1
                            20:20,24 22:15                              al 4:5 17:13 20:17
     1 10:21,23 18:19                                       7
                          2017 14:14 19:9                               american 12:21
       25:22 26:24 27:5     20:1 22:1,11,19       7 36:13               amount 30:15
       27:9 33:2 43:15      23:8 36:20 47:15      7,000 22:3              31:9 32:23 46:2
       50:13 53:11,14       49:5                  7-1 23:21             answer 10:15 11:7
     1,200 50:20,23       2018 1:17 4:3 17:2      71 23:21 42:23          14:5 19:15 22:1
     1,213 7:1              17:15 20:18 54:11       43:7 45:16            25:23 26:13 38:17
     1-17-46613 1:3         55:25                 750,000 39:7            41:2 47:18 52:24
     1.2 24:4,12,13       21,000 47:15 48:6                 9           answered 13:3
     10014 3:15           21,500 22:3                                     21:24,25 26:6
                                                  90 35:2
     1006 3:14            2211 3:5                                      answering 35:13
     101,000 29:12                                          a
                          26 3:5                                          41:1 46:8
     10:24 1:18 4:4       271 1:14                a.m. 4:4 17:2,14      answers 21:3
     10:50 17:2                                     20:12,18              38:14 39:18 52:23
                                   3
     11 17:14                                     able 30:24 33:6         53:1
     11201 1:15           30 27:23 35:2           absolutely 19:18      anticipate 34:9
     11213 5:18             46:10,19,20 47:11     accidents 34:13       anybody 23:9
     11242 3:6              47:14                 account 19:10           29:15 52:3
     11501 55:23          300 40:3 55:22            20:3,4,23 29:14     apologize 19:19
     11:09 20:12          300,000 20:2              30:16                 19:23 28:22,23
     11:14 20:18          301,000 40:5            accountant 28:4         30:19 44:12 45:24
     12 1:17              31 55:25                  33:4                appear 5:1 52:17
     12,300 22:3          330 55:21               accounts 11:20        appearance 8:14
     1281 5:17 13:2       341 2:1 4:10              12:1,7,13 28:8      appearances 8:23
       18:10,13           341a 17:13 20:16          29:7,11             application 34:1
     12:09 54:11,15       350 41:9                accurate 55:4         appoint 36:15
     12th 4:3 17:2,14     375 40:25 41:9          address 5:16 37:5     appreciate 25:7
       20:18 54:11        375,000 38:25           administration        appropriate
     13th 7:8,10            39:11,25 41:3,5         4:24                  47:23
     14 9:24                41:19                 affairs 46:7,17,23    arthur 51:8,15,25
     15 28:6,8,12 29:10            4                47:11                 52:4
     17 17:13 19:2        40,000 16:13            affirm 4:9 5:7        asked 24:10 27:12
     17-46613 4:5         400,000 42:9            afford 18:9 31:3,4      42:24 43:9 45:3
       20:17              450 41:9                agencies 26:3           51:16
              2           46613 17:14             agency 26:8,11,17     asking 6:16,18 9:5
                                   5                27:17                 10:14 19:7 42:6
     2 44:17,19,20
                                                  ago 26:23,24,25       assert 34:22
     201 3:14             50,000 21:1               27:4,7,9,10,11,12   assessed 36:6
     2010 27:5
                                                  agreement 49:15       assigned 4:6
     2011 27:2,3
                                                    50:4,7,19 51:1

                                   Veritext Legal Solutions
     212-267-6868                    www.veritext.com                           516-608-2400
Case 1-17-46613-nhl   Doc 40-3
                          25-1    Filed 03/08/18
                                        02/13/18     Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


    [assume - complicated]                                                            Page 2

     assume 52:25          bearing 44:4,5                    c           client 9:2 23:19
     attention 34:7        behalf 8:25 37:9        c 1:14 3:1 4:1 55:1     36:12 39:4 49:21
     attorney 3:4 4:21     belief 31:5 41:14         55:1                client’s 44:10
       8:19 42:23 43:8     believe 40:24 41:4      cab 1:7 4:4 6:24      closed 54:7,8
       51:15               best 33:13                7:22 17:13 20:12    coaching 38:14
     attorneys 6:15        better 7:14               20:17 23:20 24:11   code 4:25
       8:16 19:20          bill 35:25 36:3           26:19,20            collateral 33:16
     auction 42:3          bills 36:6              cabs 34:12            come 24:22 28:5
     audit 26:2,7,11,17    bit 19:21               cadman 1:14             34:6 36:3
       26:21 27:16         black 52:10             canteen 51:12         coming 54:9,12
     aware 30:13           bookkeeper 17:20        can’t 10:23 25:8      commission 39:16
              b              28:4 32:25 33:1,3       35:9 38:16 50:17    companies 6:24
                             33:6,8 53:8,9         capital 8:25 9:1        7:22,24 8:5,8 10:5
     b 1:23 23:19,21
                           bookkeeping 53:7          20:5 37:9             10:9 11:11,13,20
       39:5 46:12,13
                           bottom 31:6             car 13:13 34:23         12:1,7,14,14,19
     back 7:4,14,18
                           bracha 1:7 4:4          carroll 5:17 13:2       12:23 13:5,7,18
       11:7 13:7,13
                             6:24 7:22 17:13         18:10,13              14:6,9,20,22,23
       15:25 16:1,2
                             20:12,17 23:20        cars 13:11              15:12,13,14,17,20
       17:12 20:15,16
                             24:11 39:5 43:7       case 1:3 17:13          16:7 18:1 21:13
       41:7 44:15 45:4,5
                             47:23 48:6 51:9         20:17 23:20 36:22     22:8,10,15,25,25
       45:13
                           bread 23:7                37:25                 23:9,11 25:15
     balance 31:3
                           break 16:21,24          cases 4:4,5,25 5:2      26:10,16 27:16
     bank 11:20 12:1,7
                             17:1,3,4,10 20:8        11:13,25 12:6         28:1 30:8,10 31:3
       12:8,9,10,14 19:2
                             20:10,11,14 45:20       32:14,15 36:2,13      31:4,8 32:19
       19:5,5 20:3,4
                           brief 20:10               38:25                 34:18 35:1,19,20
       25:17 28:10 30:25
                           briefly 42:24           cash 33:16              35:25 36:5,5,10
       45:6
                           bring 22:2 23:6         century 7:8,10          36:14,15 37:16,21
     bankrupt 5:5 9:8
                           broke 53:13             certainly 35:8          38:1,5,8,9 51:3,4
       11:19
                           brooklyn 1:15 3:6       certified 55:3          51:7,17 53:13
     bankruptcy 1:1
                             3:12 5:17 32:1,2      chapter 36:13         companies’ 12:25
       1:13 4:25,25 9:8
                             36:23                 check 16:3            company 5:5
       10:1,10 11:2,9,13
                           bruce 3:8               checks 28:6             17:25 21:9 24:3
       11:20,25 12:6
                           brue 8:15               city 18:8               24:11 34:21 44:15
       14:23 15:13,14
                           budget 28:10            claim 34:19,20,22       44:16 45:11 50:25
       23:12 25:16 30:9
                           building 3:13           claimants 34:14         53:16,17
       36:2 38:9 49:14
                           buildings 30:16         claims 34:9,15,17     company’s 9:8
     banks 24:8
                             31:14 32:8 36:24        34:17               compensation
     base 46:3
                           business 6:25 10:5      clarification           12:20
     basement 18:16
                             24:15 31:6 46:7         14:10 16:8 18:3     completed 37:2
       18:19
                           businesses 11:12        clarify 39:2            54:1
     basically 27:24
                           businesswise 30:5       clear 38:15           complicated
     basis 37:19 41:18
                                                   clearly 7:18            43:25
     bear 43:22,25


                                    Veritext Legal Solutions
     212-267-6868                     www.veritext.com                           516-608-2400
Case 1-17-46613-nhl     Doc 40-3
                            25-1   Filed 03/08/18
                                         02/13/18     Entered 03/08/18
                                                              02/13/18 09:23:43
                                                                       18:06:34


    [comply - elberg]                                                                  Page 3

     comply 35:21            34:8,11,12 37:3,3      didn’t 43:15            42:2,5,22 43:12
     concluded 54:14         42:12 54:1,6,7         died 14:19              43:19,20,20 44:7
     condominiums          current 12:21,22         different 6:11          44:18 45:1,14,17
       23:1                  12:23,24 31:8            11:24,25 19:8,8       46:6,19 48:7,13
     conduct 4:22          currently 12:14            21:7 28:12,16         49:1,7 50:13,13
     confused 42:21          26:2                     31:12 42:6 46:18      50:14,15 51:22
     connection 51:23                d              differently 44:1        52:20 53:22
     contested 24:24                                  45:7                doubtful 46:2,4
                           d 4:1,20
       25:1                                         dip 29:13             dovbear 51:10
                           dabri 51:8
     contingent 34:9                                directed 8:22         driver 34:23
                           daily 37:19
     continue 21:19                                 directly 29:23        due 28:5 44:24
                           damage 34:16
       28:13 32:19 49:11                            disbursed 28:9                  e
                           date 4:3 55:25
       50:3                                           33:21
                           daughter 10:7                                  e 1:23,23 3:1,1 4:1
     conversation                                   discuss 28:25
                             15:10 38:3,13                                  4:1 21:11 55:1
       28:24                                          33:23
                             39:17                                        earlier 27:20
     convert 36:13                                  discussed 6:14
                           day 29:12                                      easiest 28:11
     copies 22:19                                     27:21
                           days 35:2,2,2                                  easily 47:8
     copy 35:23 53:11                               discussing 29:1
                           deadline 25:10                                 east 1:14
       53:21                                        dismiss 36:13
                           deal 33:16                                     eastern 1:2 3:12
     corp 1:7 4:5 6:24                              disputed 34:9
                           dealing 24:15                                  either 34:19
       7:22 17:13 20:17                             distribution 27:24
                           debt 31:9                                      elberg 4:18 5:9,11
       23:20 24:11                                    29:19,20,23 30:2
                           debtor 1:9 3:4 7:7                               5:14,14,17 6:16
     corporation 26:19                                47:15,21
                             7:18 12:13 28:8                                6:19,23,25 7:11
     correct 18:15 32:5                             distributions
                             29:7,10 34:10                                  7:12 8:1,6,9,12,19
       39:12                                          52:16
                             37:2 54:2,7,9                                  9:6,6,9,25 10:3,4
     correctly 4:13                                 district 1:2 3:12
                           debtors 4:25 5:3                                 10:7,12,17,20,25
     cost 19:3 41:3                                 docket 4:5 25:8,8
                             8:16                                           11:3,4,5,10,14,18
     counsel 6:2,3,6                                  25:9 36:21,22
                           debtor’s 42:11                                   12:2,3,8,10,16
       8:13,17 21:10                                dockets 32:11,16
                             43:9                                           13:2,6,10,16,19
       42:5 43:23 45:19                             document 23:25
                           december 22:1,4                                  13:25 14:3,3,7,12
       46:14                                          43:14 45:15 46:1
                           decide 25:15                                     14:15,18,21,24
     country 55:21                                    46:9,14
                           decided 6:15                                     15:5,9,16,19,22
     county 31:20                                   doesn’t 5:23 6:17
                             28:13                                          16:2,5,9,13,16,21
     couple 20:10                                     6:19 25:17
                           decides 37:18                                    16:22 17:19,23
     course 22:21                                   doing 7:18 28:12
                           decision 37:15,19                                18:4,7,15,22 19:1
     court 1:1,13 3:5                                 33:1,3 41:2 43:20
                             47:22,24                                       19:10 20:2,5,22
       24:19,25 25:2,4                              don’t 5:15 8:20
                           decisions 37:20                                  21:1,8,17,21 22:3
       30:23,23 31:17,17                              10:23 13:4,11,11
                           definitely 28:25                                 22:6,9,12 23:2,5
       31:18,19 32:1,2                                14:4,15,18,24
                           delay 34:6                                       23:10,14 24:1,5,7
       32:11,15 36:12,14                              18:4 22:9,12 24:7
                           demand 44:25                                     24:14,20 25:17,20
     creditor 6:3 9:2,3                               24:14,15 26:5
                           denied 19:5                                      25:23 26:1,4,9,19
     creditors 2:1 4:11                               34:9 36:4,5,18
                           department 4:21                                  26:25 27:18,21
       8:22 20:12 23:13                               37:17 40:15,16,20
                                                                            28:23 29:19 30:1
                                     Veritext Legal Solutions
     212-267-6868                      www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1    Filed 03/08/18
                                         02/13/18     Entered 03/08/18
                                                              02/13/18 09:23:43
                                                                       18:06:34


    [elberg - going]                                                                   Page 4

       32:19 35:14,15       exactly 45:1            finish 10:14 19:13               g
       36:8,16 37:13,24     examination                28:24               g 4:1 49:19,22,25
       38:2,6,10 39:7,9        27:21                finished 35:16           49:25
       39:12,14,16,19,23    examinations 5:2        finishes 19:14         general 12:22
       40:2,7,25 41:3,6     examined 5:1            first 18:7,19 37:6     generate 30:12,14
       41:10,15,20,24       example 39:5            fit 51:8                 31:4,5,8
       42:2 43:11,19        executor 38:6           five 26:6              generates 53:16
       44:5,17,22 45:5      expect 35:2             floor 18:19 37:3       genesis 51:10
       45:14 46:6 47:13     expenses 16:7           folks 30:19,19         george 49:22,25
       47:17,20,24 48:3        28:4                 following 44:20        georgian 4:11,12
       48:7,11,18,22        explain 10:15           foregoing 55:3           6:20 11:6,7 38:16
       49:1,6,9,14 50:6,9      37:7                 form 11:6                40:22 47:19
       50:12,15,17,20,22    extra 16:2              forstot 6:4 8:24       getting 28:19
       50:24 52:2,5,10                 f               8:24 9:1,3 37:8,8     34:10
       53:8                                            37:11,14,15,20,25   give 4:10 5:16
                            f 1:23 55:1
     elberg’s 33:12                                    38:3,7,12,24 39:3     6:11 23:9 25:17
                            familiar 9:7 10:5
       38:13 39:17                                     39:10,13,15,17,21     35:16 41:25 42:3
                            far 35:13
     elbert 5:16                                       39:25 40:23 41:4      47:21 52:22,24
                            faster 47:9
     employees 15:15                                   41:7,12,17,22,25      53:1,19
                            favor 25:3
       15:18                                           42:3,10,15,22       given 30:11 34:21
                            federal 3:13
     energy 51:12                                      43:4,6,13,17,22       37:4
                            fee 27:25 28:18,19
     english 4:11,12                                   44:11 45:15,18,23   giving 25:10 35:4
                               29:19 33:5
       5:21 6:16,18,23                                 45:24,25 46:9,13      35:5 39:18
                            fees 36:1,4,7,11
       11:6,8 21:3,24,25                               46:21,24 47:10,14   go 5:10 6:23 7:4
                            figure 28:11
       26:6 40:15,16,17                                47:22 48:1,4,9,13     7:14,17 9:22
                            figured 32:21
       40:17,21,21                                     48:20,23 49:10,12     11:17 13:21,21
                               33:12,13
     escrow 30:15                                      49:15,19 50:2,4,7     18:6 19:18 20:15
                            file 25:15 33:25
     esma 5:14 8:19                                    50:10,18,23,25        28:2 37:14,22
                               34:3 35:2,20
       14:25 15:1,4,4,7                                51:4,14 52:3,6,9      47:1,9 49:18,22
                               36:10
       15:13 16:18 17:18                               52:12,16,20,24        52:20 53:3
                            filed 10:9 11:1,9
       17:22 28:2,13,15                                53:2,5,9,19,22      going 4:7 6:2,11
                               11:12,25 12:7
       28:18,19 29:9,14                             forth 43:18              6:15,17,19 7:14
                               14:23 15:12,14
       29:15,19,21,21,24                            four 12:23 26:24         7:17 8:21 9:5,22
                               22:19 23:12 36:20
     especially 40:18                                  26:25 27:6,9,10       11:23,23,24 12:4
                               38:24 49:14
     estate 24:18 38:8                                 27:11 42:6            12:5 15:11 16:25
                            filing 28:7,21 29:2
       44:25 45:3,4,12                              front 23:23,25           17:1,2,3,15 18:5
                               29:5,18
     estimate 35:6                                     49:6                  19:12,16,19,22,24
                            finances 10:6
     et 4:5 17:13 20:17                             full 5:13                20:9,11,19 22:14
                            financial 12:25
     everybody 30:13                                further 53:22            26:12,13 27:19
                               46:17,23 47:11
       39:23,24,25                                  future 31:7              29:6,9,13,14,15
                            find 47:2
     everybody’s 49:1                                                        32:6,19 33:15,25
                            fine 35:13 41:1,2
     exact 49:7                                                              34:5 35:14,16,20
                               44:3
                                                                             35:24 36:19,21
                                      Veritext Legal Solutions
     212-267-6868                       www.veritext.com                          516-608-2400
Case 1-17-46613-nhl   Doc 40-3
                          25-1   Filed 03/08/18
                                       02/13/18     Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


    [going - jacob]                                                                   Page 5

       37:3 44:13 53:4    holders 29:23           instruction 6:12       investigation 26:2
       54:4               honestly 53:3             10:19                   26:7,11,17,21
     good 4:16,18         hoping 30:24            instructions 35:17        27:16
       21:21,22 39:3      house 18:11,14,14         35:18 37:4           involving 36:23
     gotten 22:12         houses 22:25            insurance 12:15        irs 15:21,23
       28:20              housewife 24:14           12:16,19,20,21,24    island 18:8
     government 26:3      hurt 34:22                34:20                issue 28:25 33:11
       26:7,11,17 27:16   husband 7:1,8,10        interest 8:23 36:6        33:16,23
     green 13:15            8:3 13:19,25            43:22 44:2,6,15      it’d 32:22
     guess 15:23 52:12      14:19 18:8,22           44:21 52:4           it’s 8:21 21:10
     guidelines 35:22       19:1 24:3,8,12,15     interpret 4:13            25:8 29:9,10
       35:23                24:18 30:16 38:8        19:22 20:20 43:1        31:18 32:13 34:6
     guys 45:18             43:11,20 44:14        interpreter 4:7,8         35:7 38:10 39:3
              h             45:11                   4:9,9,14,15 5:10        41:3,4 42:7 43:7
                          husband’s 6:25            5:12,15,20,24 6:9       43:25 46:12,13,21
     h 4:20
                            14:2 38:1 45:4,12       6:10,11,13,21 7:5       46:22 49:19 50:16
     hand 4:8,16 5:6
                          hyde 2:25 55:3,8          7:15,16,20 8:11         52:10 53:12
       5:13
                                    i               8:20 9:4 10:10,13    i’d 22:18 31:24
     happened 24:12
                                                    10:16 11:5,16,16        32:10
       26:20              idea 39:3
                                                    11:22 12:4,5,5       i’ll 9:21 38:12
     happy 53:19          ideally 31:1
                                                    13:4,22,23 14:4      i’m 4:7 6:2,4,11
     hard 35:7            identifies 8:23
                                                    14:10 15:24,24          6:15,17 7:3,9,16
     haven’t 28:13        identify 37:7
                                                    16:8,19,20,23,24        7:17 9:5,22 11:22
       32:21              improve 31:7
                                                    17:3,5,7,15 18:3,6      11:23,24 12:4,4
     hear 10:22,23,25     income 15:22 23:6
                                                    19:13,17,19,22          13:11 15:9,11
       41:10,12             30:12
                                                    20:8,10,20 21:2,2       16:10 17:3,15
     heard 30:21 41:13    incorrectly 40:18
                                                    21:5,23,25 22:22        18:5 19:12,19,22
     hearing 2:1 4:23     increments 47:7
                                                    22:24,24 23:24          19:24 20:19 22:14
       54:4               index 25:4,9
                                                    25:25 26:12,14,15       24:9,10 25:9
     help 10:7 15:10        32:11,16 36:21,22
                                                    35:15,17 36:18          26:13 27:19 28:22
       48:12              indicate 5:4
                                                    37:5,10,23 38:21        28:25 32:6 35:5,5
     helping 38:17        indicated 27:22
                                                    38:23 39:2 40:4,9       35:13,14,16 36:19
     helps 10:8 38:10     indiscernible 7:1
                                                    40:12,14,14,16,19       36:21 37:3,17
       48:22                15:25 23:20 34:4
                                                    40:20 42:25 43:2        39:15 42:17,19,20
     he’s 6:19              39:14,16 41:3,24
                                                    43:5,24 44:1,3          42:21 43:10 44:7
     high 18:9 19:4         42:14 53:18
                                                    47:1,8,19 49:3,20       44:13,19 45:19,21
       25:20 40:7 44:5    individual 8:19
                                                    51:19,20 53:25          46:7,8 48:4,21
     highest 40:10,12       28:6 53:18
                                                  interpreting              52:9,10 54:4
     history 34:18        industry 30:14
                                                    19:13                i’ve 6:14 37:4
     hit 31:6             inform 54:10
                                                  interrupt 44:12                   j
     hold 7:23 19:11      information 9:7
                                                  introduction
       19:11,11 22:23       36:19                                        jackhel 51:11
                                                    37:12
       23:17              injury 34:14,17                                jacob 14:3


                                   Veritext Legal Solutions
     212-267-6868                    www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18     Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


    [january - mean]                                                                  Page 6

    january 1:17 4:3        31:16,19,22,24         late 24:3,12 38:8      loans 19:25 20:7
      17:2,14 20:18         32:2,6,10,15,18           45:11,12              20:21 43:12,12
      54:11 55:25           33:8,11,15,18,22       lawyer 8:10 23:18        52:13
    jarub 51:11             33:25 34:3,14,25          35:22 48:1,3,5      located 13:1 17:25
    jonathan 8:24           35:5,10,12 36:9        lawyers 8:22             18:11
      37:8                  36:17 37:1,10,14          47:17,21,21 48:8    long 13:21 18:7
    judge 4:6               37:17,22 38:19,22         48:10,11,14,15,19     36:1,2 50:7
    justice 4:21            40:14,20 41:1             48:20,25 49:2,5     look 39:3 45:25
             k              42:5,17,20,25          lease 18:1 51:17         46:9
                            43:4,23 44:12,19       leasing 51:8 52:1      looked 39:10 42:9
    k 4:20,20
                            44:24 45:3,7,10           52:4                looking 39:4
    keep 31:3
                            45:19,22 46:11,16      leave 23:23              44:14 45:16 46:1
    khodorovski 1:24
                            46:20,22,25 47:3       lechaim 51:11            46:18 47:10 49:24
      3:17 4:2,15,19,19
                            47:6,18 48:17          led 41:13              lord 4:6
      4:20 5:10,12,15
                            49:3,8,10,17,20        ledanski 2:25 55:3     lose 19:6 48:12
      5:19,23 6:2,5,10
                            49:24 50:2 51:5           55:8                loss 22:8,9,11
      6:14,22 7:3,7,12
                            51:19,24 53:3,21       legal 55:20            louder 10:21
      7:17,21 8:5,7,10
                            53:24                  legally 30:6           low 40:8
      8:13,17,20 9:1,4
                          kind 13:8 16:7           let’s 5:20             lower 4:15 5:13
      9:11,15,18,21,25
                            35:12                  level 31:8                      m
      10:4,9,13,18 11:1
                          know 7:3 9:9             levity 42:18,21
      11:4,11,15,19,22                                                    m 21:11
                            14:15 18:4 22:9        liability 12:22
      12:3,9,11,17 13:3                                                   maker 37:15
                            22:12 24:7,14,15       light 7:9
      13:8,14,17,21                                                       making 7:9 19:21
                            25:3 27:22 28:9        limit 42:7
      14:2,4,8,13,16,19                                                   manage 21:19
                            29:18 31:10 33:4       limousine 39:16
      14:22 15:3,7,11                                                     management
                            34:19 41:20,20         liquidate 36:14
      15:17,20 16:4,6                                                       14:25 15:2,4,4,8
                            42:2,4 43:11,12        list 53:12
      16:11,14,17,20,23                                                     15:13 16:18 17:18
                            43:20,20 44:3,13       listed 9:7 27:23
      16:25 17:6,8,11                                                       17:22 21:7,13,16
                            44:18 45:1,14,17          34:11
      17:22,24 18:5,13                                                      21:19 27:24 28:3
                            45:17 46:8,8 47:3      litigation 30:18,22
      18:17,20,24 19:7                                                      28:13,18,19 29:19
                            48:7,13 49:1,2,7          31:13
      19:11,18 20:4,6,9                                                     49:16 50:5 51:7
                            50:13,14,15 51:15      little 19:21 29:11
      20:15,24 21:2,6                                                       51:11 53:13,16,17
                            51:24                     42:21 43:25
      21:11,15,18,24                                                      manages 51:8,9
                          knowledgeable            live 18:14 32:24
      22:4,7,10,14,18                                                       51:11
                            46:7                   llp 3:3
      22:22 23:3,8,11                                                     mandatory 47:25
                          known 35:20,25           loan 18:21,22,25
      23:15,17 24:2,6,9                                                   manhattan 31:22
                          knows 39:24,25              19:2,5,9 24:3,6,8
      24:17,23 25:1,7                                                       32:3 36:23
                                    l                 24:12 25:17 42:24
      25:14,19,25 26:5                                                    market 41:11,21
                                                      43:14,18,22 44:2
      26:10,16,20 27:1    lady 52:10,10                                   matter 1:5 28:14
                                                      44:5,10,11,14,24
      27:3,11,14,19       land 23:1                                       ma’am 11:15
                                                      44:25 45:4,10,10
      28:15,18,22 29:5    large 30:15                                       22:23 23:18
                                                      45:12 46:4
      29:9,13,17,22       lasted 27:6                                     mean 37:18,19
      30:1,4,8,19 31:11                                                     43:25
                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18     Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


    [means - owners]                                                                   Page 7

    means 18:11 40:9      months 35:8,10             51:10,11,12,12,12      21:2,5,6,8,23 22:1
    meant 7:2 15:1        morning 4:17,18          newman 21:10,11          22:7,9,14,20,22
    medallion 8:2           8:11 22:8              nhl 1:3                  23:11,15,24 24:2
     19:9,25 20:7         mother 38:17             nice 52:10               24:17,20,23 25:2
     29:23 31:6 34:24     motion 34:4              norman 21:8              25:8,12,14,25
     39:1,11 40:24        move 42:15,22            note 8:13,23             26:12,15 27:1,3,3
     50:18,21,22,23         51:18                    38:12 43:14,17         27:11,14,15,19
     53:14,15,16          moved 18:10                54:5                   28:22 29:17 30:4
    medallions 13:6,8     moving 19:20             noticed 50:25            30:4 31:24 32:6
     13:9,10,14,15        musso 3:3 8:15           number 4:5 17:13         32:12,13,16,18
     15:5 18:17,18,20              n                 20:17 25:5,9           33:11,18,22,22
     18:21,25 19:3,4                                 36:21,22 41:8          34:25 35:12,13,19
                          n 3:1 4:1,19 21:11
     20:21 21:9,14,19                                42:23 44:20            36:17 37:1,22
                            21:11 55:1
     22:2 23:2,4,5                                 numbers 13:12            39:2,23 40:2,4,9
                          name 4:4,19 5:13
     25:18,20 29:6                                   32:11,16 36:22,23      41:4,7,12,22 42:5
                            5:14 14:2 48:15
     30:12 39:6,23                                 ny 1:15 3:6,12,15        42:25 43:11,23
                            48:16 49:1
     40:12 41:15,16,19                               55:23                  44:11,22 45:5,7
                          names 5:3 41:25
     41:22 42:1                                              o              45:10,22 46:25
                            48:7,14,24 49:7
    meeting 2:1 4:11                                                        47:18 49:3,10,17
                          nana 6:11,17,22          o 1:23 4:1,20,20
     17:13 20:11,16                                                         49:19,20,23 50:2
                            7:15,21 17:4             4:20 55:1
     42:12 54:6,7                                                           50:7 51:6,20 52:6
                          napasei 51:10            oath 5:1 7:13
    merab 26:19,20                                                          53:5,22,24,24
                            52:8,9                   42:10 46:3
     51:8                                                                 old 55:21
                          napiere 52:7             obviously 33:16
    might’ve 26:22                                                        once 37:6
                          narar 1:24 3:17            52:13
     27:6                                                                 open 12:1,2,7 36:2
                          nazar 4:19,20            office 3:10,12,13
    million 24:4,12,13                                                    opened 11:20 12:8
                          near 31:7                  4:22,24 17:25
    mineola 55:23                                                         opening 12:13
                          need 5:15 7:4 8:21         18:1,2,7,10,16
    mine’s 42:14                                                          operated 28:2
                            13:4 14:4,10 16:8        35:22,24
    minutes 20:10                                                         operates 21:13
                            18:3 22:23 25:3        oh 51:20
    mistake 7:19                                                          operating 33:7
                            26:5 27:20 30:8        okay 4:15 5:19
    mom 10:21                                                               35:21 36:10
                            30:20 32:6,16,25         6:3,4,6,10,12,14
    money 22:2 28:2                                                       opposed 41:9
                            33:4,25 34:3,10          6:20,21,23 7:3,6
     28:3,7,8 29:6,21                                                     options 35:4,5
                            35:20 36:18,20,21        7:15,17,20 8:7,10
     30:2,14,15,17,24                                                     original 9:12,16
                            37:7 40:15,16,20         8:20 9:4,4,21 10:4
     30:24 31:5,8                                                           9:17,23 41:7
                            42:6 47:18 48:11         10:17 11:4,4,8,15
     33:20 47:20,23                                                       originals 9:24
                            48:16                    11:19,22,22 12:4
     48:2,16,21                                                           owe 15:17,20
                          needed 15:6 17:21          12:6,11,17,19
    month 21:1 22:1,5                                                     owned 8:3 11:12
                            28:5                     13:17 15:11,13
     31:5 32:24 35:19                                                       18:8 30:17
                          negotiate 50:4             16:6,6,6,16,20,22
     50:19,23 53:16                                                       owner 8:7 14:5
                          never 11:10                16:25 17:4,5,24
    monthly 20:24                                                           15:7,9 34:23,23
                          new 1:2 3:15 5:17          17:24 18:5,7,24
     35:21 36:10                                                          owners 21:12 42:1
                            11:20 12:1,7             19:1,7,15,15,17
                            15:21 31:21 34:13        19:24 20:6,9,19
                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                           516-608-2400
Case 1-17-46613-nhl      Doc 40-3
                             25-1   Filed 03/08/18
                                          02/13/18     Entered 03/08/18
                                                               02/13/18 09:23:43
                                                                        18:06:34


    [owns - refinance]                                                                  Page 8

     owns 7:23 41:15        personal 11:1,9          possession 7:24         17:16 19:12,24
              p               34:14                    12:13 28:8 29:7       20:19 21:4 23:21
                            personally 6:6             29:11                 24:10 25:15 26:1
     p 3:1,1 4:1
                              10:5 26:8 47:15        possible 25:8,9         26:13 27:23 29:2
     p.m. 54:11
                            persons 5:3              prepared 53:6           30:5 35:1 37:6,18
     page 51:5
                            petition 9:8,12          preparing 33:5          39:5 41:8 42:6,7
     paid 15:6 17:21
                              10:1                   present 54:3,5          43:1,2,3,5,7,7,16
       20:22 34:20 45:5
                            petitioners 9:13         previously 43:9         44:8,13 45:16
       45:13 48:3,14,15
                            piece 6:12               price 25:21 40:7        46:9,19,20 47:1
       48:20
                            piken 6:5,7 8:18           40:10 41:10,21,23     47:11,19 49:16
     paper 53:6
                              8:18,18,18 21:10         42:1,4                52:6
     papers 49:6
                              25:13 27:2,8,10        probably 6:9          questions 5:21
     part 21:15 46:4
                              27:13 32:5 34:15       problem 27:14           6:16,18 9:6 15:12
       51:25
                              35:4 44:7 48:17        problems 31:10          35:14,16 37:2,5
     particular 49:18
                              48:18,19,23 49:4       proceed 37:6            38:18,20 42:11
     parties 8:22 54:3
                            place 50:8                 38:19                 45:23 47:6 51:15
       54:3,5
                            plan 35:2                proceeding 24:24        52:13 54:2,4,6
     passed 7:8,10
                            plaza 1:14                 25:1,4 38:14        quickly 47:8
       13:20,25 14:1
                            please 4:8,16 5:6        proceedings 32:7      quite 53:4
       24:18
                              5:12,13 6:17,22          32:11 36:23 54:14             r
     passing 8:2 24:21
                              7:12,21,23 8:11          55:4
       38:1                                                                r 1:23 3:1 4:1,20
                              8:13 10:10,13,15       proceeds 31:13
     pay 13:7 15:6                                                           4:20 55:1
                              10:18 11:5,5,15        profit 22:8,11
       16:2,9 28:3 30:25                                                   raise 4:8 5:6
                              11:16 12:3 16:21       promise 4:12
       30:25 31:1,4                                                        real 23:1 33:16
                              17:11,15,16 18:6         25:18,21
       32:25 34:10 36:4                                                    really 31:9 35:7
                              19:12 20:20 22:22      proof 12:12,18,19
       36:5,11 44:15,25                                                      52:11
                              22:23,24 23:17,18        12:20,21,24
       45:3 47:17,21,25                                                    reason 42:18,21
                              23:19,20,21,24         proper 32:22
       48:2,6,7,11 49:5                                                    recall 39:11
                              25:25 35:15,17         properly 43:15
       50:18,20                                                            receive 14:8,13,16
                              37:4,5,10,11           property 23:1,6
     paying 13:13                                                            16:17 17:17
                              38:19 39:18 43:1         34:16
       16:10 17:19,21                                                      record 4:2 12:11
                              43:4 45:22 46:1        provided 12:12,18
       32:19 49:12                                                           12:17 17:8,12
                              46:10,25 49:4,21       put 23:6
     payment 18:25                                                           20:11,13,15,16
                              49:21 53:25 54:7                q
       20:25                                                                 30:21 38:12,15
                              54:9,9
     payments 19:9,25                                quarter 35:24,24        48:17 54:10,13
                            plus 22:3
       20:6,21 23:12                                   36:3                  55:4
                            pm 54:15
     pending 28:10                                   quarterly 36:1,7      recorded 5:2
                            point 5:23 6:16,18
       30:22                                           36:11               records 12:25
                              53:5
     people 41:10,13                                 queens 30:17          reduction 30:11
                            pointed 48:18
       41:13 47:25                                     31:14               referring 46:16
                            posed 11:20
     percent 44:17,19                                question 5:3 8:21     refinance 19:4
                            position 38:4,7
       44:20                                           10:14 11:6,21,23      31:2
                                                       11:24 12:4 13:4
                                      Veritext Legal Solutions
     212-267-6868                       www.veritext.com                           516-608-2400
Case 1-17-46613-nhl       Doc 40-3
                              25-1   Filed 03/08/18
                                           02/13/18     Entered 03/08/18
                                                                02/13/18 09:23:43
                                                                         18:06:34


    [reflect - started]                                                                  Page 9

     reflect 4:2 12:11         18:14 20:15 22:5       secretary’s 16:11     sit 22:7 26:1 27:15
       12:17 48:18             22:7 27:15 28:23       section 4:10 17:12    sitting 30:15
     refund 16:4,5             29:1,4,18,25             20:16                 33:20
     regarding 5:1             32:14 33:10 34:1       secured 9:2,3         six 21:9
       25:3 30:23 31:13        35:14 39:1 42:15       see 9:15 24:2,4,5     slightly 31:12
       32:7,7                  46:17 48:4,19            43:10 45:15 46:19     34:6
     related 6:24 7:22         52:15,19,22 53:2         47:11,16 53:9       slowly 49:18
       7:22 52:4               53:5                   sees 23:24            small 32:23 33:5
     relationship 6:24       road 55:21               sell 23:3,9 41:11     smaller 31:2,9
       51:16                 robert 8:18              send 35:25            sofas 46:21
     remember 14:18          room 38:4                sense 6:1 32:22       sold 18:10 41:20
       27:20,22 37:4         rosenberg 3:3            sent 15:24,25 16:2      41:22 42:1,4
     rent 15:5 32:23           8:15                   sentence 47:7         sole 15:9
     rented 13:6             run 36:15                serious 7:19          solutions 55:20
     renting 13:12           running 21:21            service 31:9          somebody 8:8
       21:8                            s              sets 43:18              13:12 15:8 21:20
     repeat 19:19                                     seven 27:4              34:21
                             s 3:1 4:1,20 6:19
       26:13 36:19 43:2                               she’s 26:12 38:6      somewhat 6:8
                             salaries 27:23
       43:4                                             38:15,15,16,17        44:1
                             salary 14:8,11,12
     repeatedly 52:17                                   41:1,2 45:8         somyash 51:13
                               14:13,16 15:18
     report 35:21                                     short 47:7            sonya 2:25 55:3,8
                               16:9,11,18 17:18
     reports 33:7                                     show 9:21,22          soon 22:18 25:10
                               17:19 27:21 32:23
       35:21 36:10                                      23:19,22 39:4         36:20,20
                               32:25,25 33:9,12
     represent 5:4 9:23                                 51:5                sorry 7:3 27:13
                             sale 30:16 31:14
       37:7 48:10                                     showing 10:2            37:17 39:15 40:4
                               42:9
     representative                                   shown 23:22             40:19 44:7 45:19
                             sales 42:8
       5:5 42:11 43:9                                 shows 43:14             45:21 46:24 48:21
                             sanders 8:24 37:9
     request 45:12                                    signature 9:12,19       52:9
                             saying 24:10 35:6
     requested 36:19                                    10:1,3              sort 28:16 31:6
                               38:16 40:1 41:18
     required 5:1                                     signatures 9:16       speak 10:21,22,23
                               48:4
     requirements                                       9:17                  30:20 51:20
                             says 24:2,11 46:2
       36:7                                           signed 38:25 46:3     speaking 15:24
                               47:14
     resolved 27:10,11                                significantly 31:2      19:14 23:18 28:23
                             schedule 23:19,21
       34:19                                          silence 54:4            38:13,15 40:15,16
                               39:5 42:8,16 43:6
     retained 33:5                                    similar 52:13,22      speaks 40:22
                               46:11,13 49:18,19
     retention 34:1                                     52:24 53:1          stance 51:12
                               49:21,25 51:5
     retentions 33:23                                 simple 47:7 51:25     stand 6:17,22
                             schedules 9:8
     return 22:13                                     simpler 43:24           17:3,4
                               38:24 42:23 43:8
       36:20                                          simply 51:22          standing 6:21
                               51:1
     returns 22:16,19                                 sir 14:10 16:8        start 31:7 49:12
                             second 16:19
       33:6 44:17,19,23                                 18:3 38:21 39:2     started 13:17,19
                             secretary 10:8
     right 4:7,8,16 5:4                                 51:21                 13:25 17:12
                               15:10 16:9,17
       5:6,13 15:16 17:1
                               17:17,17,20
                                       Veritext Legal Solutions
     212-267-6868                        www.veritext.com                           516-608-2400
Case 1-17-46613-nhl    Doc 40-3
                           25-1   Filed 03/08/18
                                        02/13/18     Entered 03/08/18
                                                             02/13/18 09:23:43
                                                                      18:06:34


    [state - united]                                                                 Page 10

     state 5:3,13 15:20     36:20 44:17,19,22         44:7,9,13 45:8      truly 19:23
       30:23 31:18,19     taxes 15:6,21            thoughts 28:14         trustee 1:25 3:10
       32:3,11,15           16:10,14,15,16         three 25:22,23           3:11 4:22 12:12
     statement 46:17        17:21 18:9 28:5           26:12,18,22 27:12     12:18 36:1,12,15
       46:22 47:11          33:2                      30:13 35:3,8,10       37:2 42:24 43:8
     states 1:1,13 3:10   taxi 13:9,14,15             50:9,10 51:7          51:16 53:25 54:1
       4:21,22 12:12,18     18:17 19:25 20:7       tied 30:17 31:16       trustee’s 46:14
       36:1,12 37:1         20:21 29:23 31:6       time 4:3 17:1,14       truth 5:7,8,8 46:6
       53:25 54:1           51:10                     18:24 19:3 20:12    truthfully 4:12
     stay 33:8            taxicabs 13:10,11           20:17 34:21 36:6    try 11:8
     stayed 31:7          td 12:10,14                 36:11,11 37:2       trying 28:9,10,11
     step 5:24            technical 6:8               53:23 54:2,10       turn 23:17,20
     street 3:5,14 5:17   tell 5:7 10:13           times 42:7               37:3 49:17,21
       13:2 18:11,13        23:21 46:6 54:7        tint 51:13             turning 43:6
       34:13              tendered 42:12           title 7:24             turns 53:17
     suggestion 47:4      terms 43:14,18           today 4:3 10:11        two 25:21 30:13
     suite 3:5,14 55:22   testified 7:8,9             26:1 38:4 40:24       32:14 35:3 39:6,8
     supervises 4:24        41:17                     41:4 42:12            39:9 49:16 51:3,4
     supplied 53:20       testifying 7:13          told 39:19,21                   u
     supreme 30:23        testimony 42:13          tort 34:15
                                                                          u.s. 1:25 3:11,13
       31:18,19 32:3      thank 10:16 15:4         total 22:2
                                                                            42:23 43:8 46:14
     sure 6:13,21 7:13      17:6,8 23:23 37:8      transcribed 2:25
                                                                            51:16
       17:7 24:9 42:17      45:25 47:10 51:14      transcript 55:4
                                                                          uncollectable
       42:20 43:2 47:5      54:9,12,13             transit 12:22
                                                                            46:2,5
       53:10              that’s 9:23 12:21        translate 4:16
                                                                          uncomfortable
     surrogate’s 24:18      12:22 21:12 27:24         5:16 6:20 8:11,21
                                                                            19:21
       24:25 25:2,4         29:6,17 31:16             9:5 10:15 11:7,16
                                                                          understand 5:24
       30:23 31:17 32:1     32:16 35:12,13            12:6 13:4,23 14:5
                                                                            6:17,19 16:6 18:5
       32:2 36:22           37:25 39:19 40:6          17:16 18:6 19:15
                                                                            24:17,23 25:12,19
     swear 4:9 5:7,9        42:17,20 44:3             19:17 22:23 26:1
                                                                            27:25 29:22 30:4
     sworn 5:5              46:3 53:4,5               26:5 35:15,17
                                                                            31:12 33:22 34:25
               t          there’s 25:1 29:8           36:18 37:11,12
                                                                            36:7,9,16 37:13
                            29:11 30:10,22            38:21,23 39:18
     t 55:1,1                                                               37:17 38:16 40:4
                            31:5,13 46:4              40:15,17,21,21
     table 19:21 23:7                                                       47:1
                            50:25 51:3,8,9,10         43:5,15 47:9 49:4
     take 16:21 17:1,3                                                    understanding
                          they’re 29:13               51:18 53:25
       20:8,9,11 25:18                                                      45:9
                            34:17 45:1             translated 4:13
       47:23 53:4                                                         understands
                          thing 32:22 34:6         translates 11:5
     talk 41:13,13                                                          24:10
                            46:14                  translation 4:10
     talking 43:10 44:9                                                   understood 9:9
                          things 27:20 47:9        troutman 8:24
     talks 41:10                                                            10:18 14:5 15:3
                          think 7:2,4 13:3            37:9
     tamar 51:9                                                             21:3,25 44:8
                            14:10 15:1 21:3        true 55:4
     tax 15:22 18:20                                                      united 1:1,13 3:10
                            40:5 41:6,9 42:5,7
       22:13,15 33:5                                                        4:21,22 12:12,18
                                    Veritext Legal Solutions
     212-267-6868                     www.veritext.com                           516-608-2400
Case 1-17-46613-nhl   Doc 40-3
                          25-1   Filed 03/08/18
                                       02/13/18     Entered 03/08/18
                                                            02/13/18 09:23:43
                                                                     18:06:34


    [united - ’11]                                                                  Page 11

       36:1,12 37:1        ways 28:12             what’s 27:23            51:10,12,12,12,12
       53:24 54:1          wednesday 29:12          28:11 35:6          you’re 6:5 7:13
     unliquidated 34:8     week 34:7              who’s 38:3              18:15 33:15,25
     unpaid 15:18 36:6     weiner 3:3,8 5:19      withdrawn 36:5          40:1 42:6,10
     unresolved 34:15       5:22,25 6:8 7:2,4     woman 10:21,23          44:14 46:16,17
       34:17                7:6 8:15,15,16          18:19 25:22 26:24     52:3
     unsecured 9:2          9:11,13,17,20,23        27:5,9 33:2 43:15   you’ve 23:22
     use 14:11 28:13        10:1,11,22 11:21        50:13 53:11,14        39:10 42:12
       30:24 32:24 48:1     15:1,3 21:12          word 14:11 44:3                z
               v            22:14,17,21 23:15     words 7:23 43:25
                                                                        z 4:20
                            23:16,19 24:24          47:8
     v 4:20                                                             zero 46:2,4
                            25:2,6,12 26:22       work 8:1 13:7
     valid 34:20                                                                 ’
                            27:6,19 28:1,17         28:10 33:3 48:8,9
     valuations 52:17
                            28:20,23 29:4,8         48:9,11             ’11 27:5
     value 30:11 38:25
                            29:10,15,20,25        worked 33:19
       39:6,11,13,20,22
                            30:3,6,7,10,20,22     workers 12:20
       40:1,12,24 41:14
                            31:15,18,21,23        working 13:13
     values 41:18
                            32:1,4,9,13,17,21       19:2 47:25
     varick 3:14
                            33:3,10,13,17,19      worry 45:2
     veritext 55:20
                            33:24 34:2,5,16       worth 41:5,5,19
              w             35:1,7,11 36:17       writing 28:6
     w 8:18 21:11           36:18,25 39:6,8         43:17
     wailing 21:7,15        40:6,11,18 41:2       written 44:22
       21:18 49:15 50:5     42:8,10,14,17,19      wrote 24:21 46:2
       51:2,9,18            42:20 44:9 45:1,8               x
     wait 7:13 10:10        45:17,21,24 46:12
                                                  x 1:4,10
       10:14 11:5,15        46:19 47:2,5
       12:3 19:14 23:18     48:24 49:8,13,21                y
       25:21                49:23,24 50:1,16      yeah 8:12 27:8,9
     want 6:9 19:13         50:21 51:3,7,22         28:17 32:17 35:11
       21:18,19 25:18       52:13,15,19,22          38:22 45:8 47:13
       38:14 45:17,19       53:1,10,12,15           53:21
       49:16 51:18 52:20   went 8:3 14:1          year 14:14 16:13
       54:4,5              wet 9:19                 19:25 22:10,11
     wanted 13:23          we’d 53:19               23:8 35:3,9,10
       19:4 28:24 29:17    we’ll 9:22 11:16       years 19:3 25:21
       31:12                17:11 42:12,15          25:22,23 26:6,12
     wants 16:24           we’re 7:14 16:25         26:18,23,24,25
     wasn’t 34:20           17:1,2,4,8 19:16        27:4,7,9,10,11,12
     way 5:20 11:24,25      20:9,10,11,13,16        30:13 35:3,3 50:9
       19:8 28:1,11,16      28:9 43:6 47:10         50:10
       31:12 33:14 40:23   we’ve 53:20            yellow 13:14,16
       43:24 48:5,5                               york 1:2 3:15 5:18
       51:25                                        15:21 31:21 34:13
                                    Veritext Legal Solutions
     212-267-6868                     www.veritext.com                          516-608-2400
